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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

AMERICAN CIVIL RIGHTS UNION,                  §
in its individual and corporate capacities,   §
         Plaintiff,                           §
                                              §
       v.                                     §            Civil Action No. 7:16-CV-00103
                                              §
ELECTION ADMINISTRATOR                        §
JOHN RODRIGUEZ, in his official               §
capacity; and TEXAS SECRETARY OF              §
STATE ROLANDO PABLOS, in his                  §
official capacity,                            §
        Defendants.                           §


   APPENDIX TO DEFENDANT JOHN RODRIGUEZ’S MOTION FOR SUMMARY
                           JUDGMENT


 Deposition of ACRU President Susan Carleson                                  Tab A
 Receipts Related to Advertisement and Travel Costs (ACRU 70-84)              Tab B
 Affidavit of John Rodriguez, Starr County Elections Administrator            Tab C
 Bellitto v. Snipes, 268 F.Supp.3d 1328 (2017)                                Tab D
 Report of John Mashburn to Susan Carleson (ACRU 766-774)                     Tab E
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                        TAB A
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                                                       Susan Carleson                                                  1 (1 - 4)
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 1          UNITED STATES DISTRICT COURT                          1             APPEARANCES
 2        FOR THE SOUTHERN DISTRICT OF TEXAS                      2 ON BEHALF OF THE PLAINTIFF:
 3               MCALLEN DIVISION                                 3 J. CHRISTIAN ADAMS, ESQ.
                                                                    PUBLIC INTEREST LEGAL FUND
 4 AMERICAN CIVIL RIGHTS UNION,                  )                4 300 N. Washington Street - Suite 405
                                                                    Alexandria, Virginia 22314
 5 in its individual and               )                          5 703-963-8611
                                                                    adams@publicinterestlegal.org
 6 corporate capacities,                   )                      6
 7          Plaintiff,         )                                  7 ON BEHALF OF DEFENDANT JOHN RODRIGUEZ
 8          v.                ) Civil Action                      8 PHILIP ARNOLD, ESQ.
                                                                    ALLISON, BASS & MAGEE, L.L.P.
 9 No.                                                            9 A.O. Watson House
                                                                    402 West 12th Street
10 ELECTION ADMINISTRATOR                      ) 7:16-CV-00103   10 Austin, Texas 78701
11 JOHN RODRIGUEZ, in his official )
                                                                    512-482-0701
                                                                 11 p.arnold@allison-bass.com
12 capacity; and TEXAS SECRETARY                 )               12 ON BEHALF OF DEFENDANT PABLOS
13 OF STATE ROLANDO PABLOS,                      )               13 ADAM BITTER, ESQ.
14 in his official capacity            )                            Assistant Attorney General
                                                                 14 Office of the Texas Attorney General
15 Defendant.                      )                                General Litigation Division
                                                                 15 P.O. Box 12548
16                                                                  Austin, Texas 78711
                                                                 16 adam.bitter@oag.texas.gov
17
                                                                 17
18               Washington, D.C.
                                                                 18
19               Monday, December 11, 2017
                                                                 19
20       Deposition of SUSAN CARLESON - 9:30 A.M.
                                                                 20                CONTENTS
21
                                                                 21 EXAMINATION OF SUSAN A. CARLESON                   PAGE
22
                                                                 22   By Mr. Arnold
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 1 DEPOSITION OF SUSAN CARLESON                                   1               EXHIBITS
 2        Held at                                                 2              (Marked - Attached)
 3        Army Navy Club                                          3 Number          Description                PAGE
 4        901 17th St NW                                          4 Exhibit 1      Stack of letters from ACRU to      25
 5        Washington, DC 20006                                    5             various counties in Texas, Bates
 6         Pursuant to notice, before Carol J.                    6             stamped ACRU-000001-69
 7 Robinson, Registered Professional Reporter and Notary          7 Exhibit 2      Document entitled "Financial       32
 8 Public in and for the District of Columbia.                    8             Statements and Independent
 9                                                                9             Auditor's Report," dated
10                                                               10             December 16, 2016,
11                                                               11 Exhibit 3      Email from John Mashburn to         47
12                                                               12             Susan Carleson dated
13                                                               13             February 8, 2016 with attached
14                                                               14             receipts, Bates stamped
15                                                               15             ACRU-000072-84
16                                                               16 Exhibit 4      Document entitled "Best Practices 56
17                                                               17             for Achieving Integrity in Voter
18                                                               18             Registration"
19                                                               19 Exhibit 5      Email from Jorge Canales at        64
20                                                               20             Starr County Town Crier to
21                                                               21             Stacey Cornett dated December 23,
22                                                               22             2015, Bates stamped ACRU-00007071
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                                                     Susan Carleson                                                         2 (5 - 8)
                                                    Page 5                                                                 Page 7
 1   Number          Description                PAGE         1     A.           I was deposed in connection with our
 2   Exhibit 6      Printout from ACRU web site           80       2 lawsuit against Zavala County, Texas and also a
 3               entitled "Mission Statement"                      3 lawsuit against Broward County, Florida.
 4                                                                 4     Q.     And those are the only two times you have
 5                                                                 5 been deposed?
 6                                                                 6     A.     Yes.
 7                                                                 7     Q.     Same basic ground rules, I'm sure, as in
 8                                                                 8 those depositions. If you want to take a break, we
 9                                                                 9 can take a break whenever. If you have any questions
10                                                                10 or you didn't understand a question I asked, just ask
11                                                                11 me to repeat it.
12                                                                12           If you would let me finish a question
13                                                                13 before answering it so we don't talk over each other,
14                                                                14 for the stake of the court reporter, who always gets
15                                                                15 mad when we do that.
16                                                                16           What is -- how long have you been the
17                                                                17 president of the American Civil Rights Union?
18                                                                18     A.     I became president of the ACRU on the
19                                                                19 passing of my husband.
20                                                                20     Q.     Who was your husband?
21                                                                21     A.     Robert B. Carleson.
22                                                                22     Q.     Did he found the ACRU?
                                                      Page 6                                                               Page 8
 1               P-R-O-C-E-E-D-I-N-G-S                             1      A.    Yes, he did.
 2                SUSAN CARLESON                                   2      Q.    By ACRU, we mean the American Civil
 3 called as a witness, having been first duly sworn to            3 Rights Union?
 4 tell the truth, the whole truth, and nothing but the            4      A.    American Civil Rights Union.
 5 truth, was examined and testified as follows:                   5      Q.    When did he found the ACRU?
 6                 EXAMINATION                                     6      A.    He founded it technically in 1998. The
 7 BY MR. ARNOLD:                                                  7 IRS gave us our letter of determination in 1999.
 8      Q.    Would you state your name for the record,            8      Q.    Was there any issue with the IRS giving
 9 please?                                                         9 you your letter of determination as a 501(c)(3)?
10      A.   Susan Alison Carleson.                               10      A.    No, there was not.
11      Q.    And where do you work, Ms. Carleson?                11      Q.    What did you do before you became
12      A.   I work for the American Civil Rights                 12 president of the ACRU?
13 Union.                                                         13      A.    I had a long career in public policy both
14      Q.    What is your position at the American               14 on Capitol Hill and in various executive
15 Civil Rights Union?                                            15 administrations.
16      A.   I'm the Chairman and CEO.                            16      Q.    What did you do immediately prior to
17      Q.    Have you ever been deposed before?                  17 becoming president of the ACRU?
18      A.   Yes, I have.                                         18      A.    I was a -- I had a political appointment
19      Q.    Approximately how many times have you               19 at the Social Security Administration, the Office of
20 been deposed?                                                  20 the Commissioner.
21      A.   Twice.                                               21      Q.    What was that title?
22      Q.    What were you deposed in connection with?           22      A.    I was Special Assistant for Policy.
                                                               Lexitas
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                                                       Susan Carleson                                                    3 (9 - 12)
                                                       Page 9                                                           Page 11
 1     Q.   What did you do as Special Assistant for             1     Q.    What did that entail?
 2 Policy at the Social Security Administration?                 2     A.    We had a variety of programs that fell
 3     A.   I helped develop policy objectives and               3 under his purview, the Institute for Justice,
 4 basically generally anything that related to any of           4 basically did writing for him and assisted in
 5 the upcoming policy decisions that the Commissioner           5 formulating policy.
 6 was going to be making.                                       6     Q.    What specific -- let me rephrase the
 7     Q.   Was that part of a committee or panel?               7 question.
 8     A.   No. I was an employee.                               8          Were there any specific policies he
 9     Q.   Who appointed you?                                   9 focused on or was it general policy for the DOJ?
10     A.   George W. Bush.                                     10     A.    It was generally related to the Office of
11     Q.   What did you do before you worked for the           11 Justice Programs, the programs under him, Bureau of
12 Social Security Administration?                              12 Justice Statistics, crime rates, state and local
13     A.   Immediately before?                                 13 administration; the office of OGP had a broad
14     Q.   Yes, ma'am.                                         14 portfolio.
15     A.   I sold real estate in San Diego,                    15     Q.    Okay. And I'm not trying to be obtuse,
16 California.                                                  16 but could you tell it to me a little more? My
17     Q.   How long did you sell real state in San             17 knowledge of the federal government is a little
18 Diego?                                                       18 limited. You are throwing out some terms I just
19     A.   Well, my husband and I lived there for              19 don't understand.
20 about nine years.                                            20          MR. ADAMS: Objection, vague.
21     Q.   When did you move to Washington, D.C.?              21 BY MR. ARNOLD:
22     A.   Moved back 2002.                                    22     Q.    If you could just explain what that
                                                      Page 10                                                           Page 12
 1     Q.    So, from approximately 1992 to 2002, you            1 office did maybe in more detail?
 2 lived in San Diego?                                           2     A.    Well, the office oversaw a number of
 3     A.   That's correct.                                      3 bureaus, the Bureau of Justice Assistance, the Bureau
 4     Q.    Did you work for a real estate company in           4 of Juvenile Justice, the Bureau of Victims -- I think
 5 San Diego?                                                    5 it was Victims Assistance. These names may have
 6     A.   Yes.                                                 6 changed by now.
 7     Q.    What real estate company?                           7          It was mostly the statistical information
 8     A.   Coldwell Banker.                                     8 about crime rate nationally, statewide, locally, and
 9     Q.    What did you do prior to working as a               9 my job was to do whatever he asked me to do, mostly
10 real estate agent?                                           10 preparing comments for him and policy papers.
11     A.   I worked for the Reagan Administration in           11     Q.    And prior to that, I forgot what you say
12 the capacity of a Special Assistant to the Assistant         12 you did before the DOJ.
13 Attorney General for Justice Programs, and I had             13     A.    I had been with the Deputy Assistant of
14 worked on Capitol Hill for Jack Kemp.                        14 Education under Secretary of Education.
15          I had many years of experience. My last             15     Q.    Was that also in the Reagan
16 formal position here before I left -- before we moved        16 Administration?
17 to California was with the DOJ in the second Reagan 17              A.    That was. And I was detailed to the
18 Administration.                                              18 Commission on the Bicentennial of the Constitution.
19     Q.    What did you do at the DOJ before you              19     Q.    Who was the Secretary of Education at the
20 moved to California?                                         20 time?
21     A.   I was Special Assistant to the Assistant            21     A.    Bill Bennett.
22 Attorney General for Justice Programs.                       22     Q.    What did you do for Kemp's office?

                                                           Lexitas
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                                                        Susan Carleson                                          4 (13 - 16)
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 1     A.   I was his legislative director.                       1          At the time, there were cases against the
 2     Q.   How long were you legislative director?               2 Boy Scouts of America and their freedom of
 3     A.   About a year and a half.                              3 association, and that was the first case that we
 4     Q.   What did you do before working for                    4 filed an Amicus brief in, in 1999.
 5 Senator Kemp?                                                  5     Q.    What specifically does the ACRU -- let me
 6     A.   I was staff on the Commission on the                  6 rephrase the question.
 7 Social Security for the Greenspan Commission, Social           7          What is the ACRU's mission statement and
 8 Security reform, 1981 to 1983.                                 8 goal today?
 9     Q.   Where did you -- where were you born?                 9     A.   Well, our mission statement is to protect
10     A.   Hartford, Connecticut.                               10 the civil rights of all Americans and we have
11     Q.   Where did you go to college?                         11 concluded that the most essential civil right that we
12     A.   I went briefly to a junior college in                12 have is that of self-governance. And the key to that
13 Boston. I did not graduate.                                   13 is honest elections.
14     Q.   Do you hold any other degrees or                     14     Q.    Is the ACRU primarily focused on election
15 certifications?                                               15 integrity in elections law?
16     A.   No. Certification, I became a member of              16     A.   Yes.
17 MENSA in 1968.                                                17     Q.    Is there anything else the ACRU focuses
18     Q.   You have a real estate license or did at             18 on?
19 one point?                                                    19     A.   Well, we from time to time submit Amicus
20     A.   I did.                                               20 briefs in other areas, but as we are a relatively
21     Q.   Do you still?                                        21 small organization, I feel that it's important for us
22     A.   No, I don't.                                         22 to focus and do our best job on the election

                                                       Page 14                                                       Page 16
 1     Q.   Did you hold any other licenses?                      1 integrity issue, which I believe is the lynchpin of
 2     A.   No.                                                   2 all of our rights.
 3     Q.   How many people work for the ACRU?                    3     Q.    What does the ACRU primarily spend its
 4     A.   We have about six or eight staff and then             4 money on?
 5 I contract with an accounting firm, a web site                 5          MR. ADAMS: Objection. Asked and
 6 designer, graphic, an auditor. There are various               6 answered.
 7 other groups -- firms that I contract with. But                7          THE WITNESS: Lawsuits. Lots of legal
 8 individuals who actually work for ACRU, about six or           8 expenses.
 9 seven.                                                         9 BY MR. ARNOLD:
10     Q.   Do you oversee all six to seven people as            10     Q.    Legal expenses?
11 president?                                                    11     A.   Yes.
12     A.   Yes. I delegate as much as I can.                    12     Q.    Those are primarily related to or I guess
13     Q.   What is the primary purpose of the ACRU?             13 exclusively related to elections, integrity lawsuits?
14     A.   Well, the purpose -- my husband founded              14     A.   Litigation and also our staff costs.
15 the organization to defend the constitutional rights          15     Q.    Could you describe to me the ACRU's daily
16 of all Americans.                                             16 activities, general activities that the ACRU engages
17     Q.   Did he have any specific goals?                      17 in from day to day?
18     A.   He felt that things were not represented             18          MR. ADAMS: Objection to form. Vague.
19 fully in favor of certain groups. At the time, he             19 BY MR. ARNOLD:
20 felt there was a need for an organization to defend           20     Q.    Do you understand the question?
21 the Constitution as written and defend particular             21     A.   Yes. I'll do my best to answer. On any
22 cases.                                                        22 given day, there are a variety of things going on.

                                                            Lexitas
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                                                          Susan Carleson                                               5 (17 - 20)
                                                         Page 17                                                       Page 19
 1 We are constantly researching to find instances of               1     Q.   Let me rephrase the question a little
 2 problems with our election system, instances of vote             2 bit. Who determines who the ACRU should sue for
 3 fraud. We compile videos. We get them posted.                    3 having voter roll issues, I guess?
 4           There is a production process. There is                4     A.   Well, the ultimate decision is mine, and
 5 writing going on. We have a very active web site.                5 it's based on consultations with -- well, it's based
 6 We post new material that is generated by ACRU                   6 on studying -- looking at the data, taking into
 7 fellows and policy board members, I'd say, daily,                7 consideration our budget, and consulting with, from
 8 sometimes more than daily.                                       8 time to time, members of the policy board, and that's
 9           We are -- I believe right now, we are                  9 how I arrive at a decision.
10 working on an Amicus brief in at least one case,                10     Q.   Who helps you with the analysis to
11 perhaps two. I am currently working on our 2018                 11 determine this state or this county is having issues
12 budget. So, there are a variety of things going on              12 with voter fraud?
13 every day.                                                      13     A.   Well, the numbers are relatively
14      Q.    Tell me about the -- you mentioned                   14 straightforward. It's a simple calculation that
15 analyzing elections issues, and, I guess, voter                 15 shows how much over 100 percent a county's voter
16 registration issues. What sort of routine activities            16 registration rolls are. So, it's really not terribly
17 do you all engage in for that?                                  17 complicated.
18      A.    We don't do analyses ourselves. We                   18     Q.   I understand the math and I have read Mr.
19 depend upon the experts.                                        19 Camarota's report in this case. Does he identify
20      Q.    What experts?                                        20 these counties and states for you or is there
21      A.    Steven Camarota, C-A-M-A-R-O-T-A and he              21 somebody in your office?
22 has done the analysis of the voter registration                 22          MR. ADAMS: Objection. Compound.
                                                         Page 18                                                       Page 20
 1 rolls. We don't do our own analysis. We depend upon              1          THE WITNESS: There is a list of
 2 the analysis of experts.                                         2 counties.
 3     Q.     Mr. Camarota was hired as an expert in                3 BY MR. ARNOLD:
 4 this case. Correct?                                              4     Q.    Who provided a list of counties?
 5     A.    Yes.                                                   5     A.   Mr. Camarota.
 6     Q.     And I believe he's been hired as an                   6     Q.    So, Mr. Camarota was engaged to do a
 7 expert in some other cases you have been involved in.            7 nationwide analysis to identify counties that had
 8 Correct?                                                         8 more registered voters than people of voting age
 9     A.    Yes. I would say that he is the most                   9 population?
10 expert in this field available.                                 10          MR. ADAMS: Objection. Asked and
11     Q.     Do you all routinely engage him as an                11 answered.
12 expert witness in litigation?                                   12          THE WITNESS: Uh-huh. I guess. I didn't
13           MR. ADAMS: Objection. Form. Vague.                    13 engage him to do the study.
14 BY MR. ARNOLD:                                                  14 BY MR. ARNOLD:
15     Q.     Let me ask the question a different way.             15     Q.    Do you know who did engage him to do the
16 Does Mr. Camarota do other work for you besides                 16 study?
17 testifying as an expert?                                        17     A.   I don't know.
18     A.    For us specifically, no, but he does the              18     Q.    No?
19 analysis of the data which we use.                              19     A.   No.
20           MR. ADAMS: Objection. Form. Vague to                  20     Q.    How did you acquire the study?
21 the previous question.                                          21          MR. ADAMS: Objection. Asked and
22 BY MR. ARNOLD:                                                  22 answered.

                                                              Lexitas
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                                                Susan Carleson                                                   6 (21 - 24)
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 1           THE WITNESS: I don't know. I have          1     Q.               The Section 8 of the NVRA is primarily
 2 access to the study. I have access to the                       2 what the ACRU focuses on. Is that right?
 3 information. It's public information. It's not                  3     A.    That's correct.
 4 secret.                                                         4     Q.    And you've read Mr. Camarota's report in
 5 BY MR. ARNOLD:                                                  5 this case. Correct?
 6     Q.    Okay. Who gave you this?                              6     A.    Yes, I have.
 7           MR. ADAMS: Objection. Asked and                       7     Q.    And you've read Donald Palmer's report in
 8 answered.                                                       8 this case. Correct?
 9 BY MR. ARNOLD:                                                  9     A.    Yes, I have.
10     Q.    Who provided the ACRU Mr. Camarota's                 10     Q.    What are your opinions about Mr.
11 national study?                                                11 Camarota's report?
12     A.    Who? I don't recall specifically who.                12          MR. ADAMS: Objection. Relevance. Calls
13     Q.    Do you know when the study was created?              13 for a legal conclusion.
14     A.    I believe that the data reflected in that            14 BY MR. ARNOLD:
15 study was through 2013.                                        15     Q.    Do you have any opinions about Mr.
16     Q.    Do you have a copy of the study?                     16 Camarota's report?
17     A.    Not with me.                                         17     A.    My opinion is that it was -- it was
18     Q.    Does the ACRU possess a copy of the                  18 straightforward. He did a simple calculation that
19 study?                                                         19 resulted in showing that Starr County's voter
20     A.    Yes.                                                 20 registration rolls were well above not only the
21     Q.    We went over your professional experience            21 average of Texas but nationwide.
22 before back to, at least, I think, 1981. Correct?              22     Q.    How many of Mr. Camarota's reports have
                                                        Page 22                                                         Page 24
 1     A.    Yes.                                                  1 you read?
 2     Q.    I didn't hear that you had ever worked as             2     A.   Well, I have read the ones that we have
 3 an elections administrator, an elections official.              3 contracted with him to provide to us. I am not privy
 4 Is that right?                                                  4 to reports he's done for others.
 5     A.    That correct.                                         5     Q.    And the reports Mr. Camarota has provided
 6     Q.    Do you have any experience with Texas                 6 to you are his nationwide survey. Correct?
 7 elections law?                                                  7     A.   Yes.
 8     A.    I have reviewed the documents in this                 8     Q.    The expert report in this case against
 9 case and other filings that we have made. I wouldn't            9 Starr County. Correct?
10 say that I'm an expert, but I'm familiar with it.              10     A.   Yes.
11     Q.    Do you have any experience with federal              11     Q.    The expert report against Zavala County
12 elections law?                                                 12 in Texas. Correct?
13     A.    To the extent that I have needed to                  13     A.   Yes.
14 become acquainted with it.                                     14     Q.    And the expert report against Broward
15     Q.    Have you read the National Voter                     15 County in Florida. Correct?
16 Registration Act?                                              16     A.   Yes.
17     A.    I have not committed it to memory. I                 17     Q.    Were there any others?
18 have read it, particularly Section 8.                          18          MR. ADAMS: Objection. Asked and
19     Q.    Is Section 8 primarily the section of the            19 answered.
20 -- can we call it the NVRA, the National Voter                 20          THE WITNESS: I do not believe so.
21 Registration Act?                                              21 BY MR. ARNOLD:
22     A.    Yes.                                                 22     Q.    Did Mr. Camarota prepare a report --
                                                             Lexitas
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 1 strike the question.                                           1 BY MR. ARNOLD:
 2           Let me mark this as Exhibit is 1.                    2      Q.    Would you agree with me that as part of
 3                  (Carleson Exhibit No. 1,                      3 its regular activities, the ACRU analyzes county
 4                  stack of letters from ACRU to                 4 voter registration rolls and compares the number of
 5                  various counties in Texas, Bates              5 registered voters to the voting age population of
 6                  stamped ACRU-000001-69, was                   6 that county?
 7                  marked for identification.)                   7      A.   Well, we pay attention to the report. We
 8 BY MR. ARNOLD:                                                 8 don't generate the report. We don't crunch the
 9      Q.    This has been Bates labeled ACRU 1 to               9 numbers.
10 ACRU 69. This was provided to us by your counsel.             10      Q.    But it is something the ACRU does as part
11 And it is essentially a stack of letters that you             11 of its routine business?
12 sent to various counties in Texas.                            12      A.   Yes. We try to stay on top of it.
13      A.    Yes.                                               13      Q.    What percent of incorrectly registered
14      Q.    And the letters are mostly the same. Of            14 voters do you think is reasonable for a county to
15 course, the recipient name has changed but they               15 have on its voting registration roll?
16 appear to be a form letter. Is that right?                    16           MR. ADAMS: Objection. Form. Vague and
17      A.    That's correct.                                    17 calls for a legal conclusion.
18      Q.    Who prepared this letter for you?                  18           THE WITNESS: I would say none.
19      A.    This letter, I believe, was drafted by             19 BY MR. ARNOLD:
20 John Mashburn.                                                20      Q.    So, in your opinion, it's not reasonable
21      Q.    And Mr. Mr. Mashburn used to work for the          21 for one person to be registered incorrectly on a
22 ACRU, I understand.                                           22 county's voter registration roll?

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 1      A.    Yes, he did.                                        1           MR. ADAMS: Objection. Asked and
 2      Q.    How did you determine what counties in              2 answered.
 3 Texas to send these letters to?                                3           THE WITNESS: I believe it is the
 4           MR. ADAMS: Objection. Asked and                      4 responsibility of the county to do its very best job
 5 answered.                                                      5 to make sure that there are none. Obviously, this is
 6           THE WITNESS: All of these counties had               6 real life and there are going to be errors, but I
 7 in excess of 100 percent of their citizen voter                7 believe it's the county's responsibility to minimize
 8 registration population registered to vote.                    8 the possibility of those errors affecting the process
 9 BY MR. ARNOLD:                                                 9 to the extent it possibly can.
10      Q.    And that came from Mr. Camarota's report.          10 BY MR. ARNOLD:
11 Correct?                                                      11      Q.    I understand that and that's what I'm
12      A.    Yes. I believe so.                                 12 getting at, is the fact that we live in the real
13      Q.    So, when you send these letters, you rely          13 world and there's going to be issues. So, you're not
14 on the data Mr. Camarota has provided to you.                 14 taking a hard line saying no, absolutely, 100
15 Correct?                                                      15 accurate in every county in the United States.
16           MR. ADAMS: Objection. Asked and                     16      A.   The ideal is none.
17 answered.                                                     17      Q.    The ideal is none, but reality would
18           THE WITNESS: Yes.                                   18 dictate that there's going to be at least one
19 BY MR. ARNOLD:                                                19 somewhere?
20      Q.    Is there any other data you rely on?               20      A.   Probably.
21      A.    No.                                                21      Q.    Do you know what the Social Security
22           MR. ADAMS: Objection. Form. Vague.                  22 Master Death Index is?

                                                            Lexitas
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                                                         Susan Carleson                                                    8 (29 - 32)
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 1       A.    Yes.                                                1      Q.    Do you know how much it cost to use the
 2       Q.    What is it?                                         2 National Change of Address database?
 3       A.    It's the Social Security's Master Death             3      A.    No, I do not.
 4 Index. Everyone who dies is recorded in the Social              4      Q.    Do you know how many states use the
 5 Security Department. It's one of the processes they             5 National Change of Address database?
 6 use to stop sending checks to people.                           6      A.    Not personally, no.
 7       Q.    Did you work with the Social Security               7      Q.    What injury did the ACRU suffer as a
 8 Master Death Index when you worked at the Social                8 result of the Starr County elections administrator's
 9 Security Administration?                                        9 actions as you allege in this case?
10       A.    No, I didn't.                                      10      A.    Well, we spent a great deal of money in
11       Q.    Were you familiar with it through your             11 attempting to solve the problem with Starr County.
12 role at the Social Security administration?                    12 When we sent the notice letter, we ended up sending
13       A.    Everyone was aware of its existence, yes.          13 Mr. Mashburn on a trip to meet with Mr. Montalvo.
14       Q.    But you didn't actively participate in             14 That was over $7,000.
15 it?                                                            15           We also took out a newspaper ad in the
16       A.    No.                                                16 local paper, attempting to raise public awareness
17            MR. ADAMS: Objection. Asked and                     17 that we felt there were problems with the voter
18 answered.                                                      18 rolls. So, we spent a substantial amount of money
19 BY MR. ARNOLD:                                                 19 for an organization with a budget the size of ours.
20       Q.    Have you ever used the Social Security             20      Q.    How big is the ACRU's budget?
21 Master Death Index personally?                                 21           MR. ADAMS: Objection. Form.
22       A.    No.                                                22           THE WITNESS: Our operating budget
                                                        Page 30                                                            Page 32
 1       Q.   Do you know how much it cost to use the              1 outside of the direct mail costs and everything is a
 2 Social Security Master Death Index?                             2 little over $1 million a year.
 3       A.   I do not.                                            3                (Carleson Exhibit No. 2,
 4            MR. ADAMS: Objection. Relevance.                     4                document entitled "Financial
 5 BY MR. ARNOLD:                                                  5                Statements and Independent
 6       Q.   Do you know how many states use the                  6                Auditor's Report," dated December
 7 Social Security Master Death Index?                             7                16, 2016, was marked for
 8       A.   No, I do not.                                        8                identification.)
 9       Q.   Do you know what the National Change of              9 BY MR. ARNOLD:
10 Address Program is?                                            10      Q.    I am handing you Exhibit 2. This is -- I
11       A.   Yes, I do.                                          11 just got it off the web site. Is this your -- it
12       Q.   What is that?                                       12 looks like a 2016, 2015 audit, and there is an
13       A.   That's the U.S. Postal Service's program;           13 additional group of documents about the 2016 budget.
14 when people are moving, they notify the Post Office            14      A.   Uh-huh. Is there anything particular you
15 and mail is returned to the sender with the person's           15 want me to look at?
16 new address attached to it. I get return mail from             16      Q.    No. I just want to make sure that is an
17 some of the our donors with the yellow sticker on it,          17 accurate reflection of your budget.
18 and we go ahead and make the address change to make 18                 A.   Well, it's our financial report. When
19 sure that the person gets the mail going forward.              19 I'm talking about our budget, I'm talking about the
20       Q.   Have you ever personally used the                   20 numbers with which I operate, and that's slightly
21 National Change of Address database?                           21 over a million dollars. When we take into account
22       A.   Personally, no.                                     22 direct mail costs and what not, it is more like

                                                             Lexitas
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                                                      Susan Carleson                                                   9 (33 - 36)
                                                     Page 33                                                           Page 35
 1 $4 million.                                                  1     A.     It is our outreach, our globalization
 2     Q.     What are the direct mail costs?                   2 mailings, yes.
 3     A.     Well, they send mail out to donors.               3     Q.     What do they mail specifically?
 4 There are costs involved with that. And then there           4     A.     They explain to people what we're doing
 5 are returns so there an offset. I thought you were           5 and ask them if they want to become a member and join
 6 interested in my operating budget, organization.             6 our effort.
 7     Q.     I am just trying to get an idea.                  7     Q.     So, solicitation for membership?
 8     A.     And I don't think that number is actually         8     A.     Yes, and education, telling them what we
 9 reflected in here. These are kind of the gross               9 are doing and why we are doing it.
10 numbers. So, probably 4 and a half million is closer        10     Q.     And you said the ACRU spends roughly
11 to the number that would pop out here. But it's             11 $3 million a year on the mailings?
12 complicated.                                                12     A.     That amount of money is expended. I
13     Q.     Okay. Exhibit 2 reflected around                 13 believe the documents show that.
14 $1 million sort of budget and you are saying there is       14     Q.     What do you mean that amount is money is
15 an additional 3 million you all incur in mailings?          15 expended?
16     A.     Well, there are expenses with direct             16     A.     It's the cost of mailing the materials.
17 mail. They spend money. They recoup money. But              17     Q.     Okay. So, before, you said the injury
18 technically, it's part of the budget but it's outside       18 that ACRU incurred in this case with Starr County was
19 of my --                                                    19 the expense to send Mr. Mashburn down to Starr County
20           MR. ADAMS: Can we take a break?                   20 and the expense to run a newspaper ad. Is that
21           THE WITNESS: I'm not an accountant so             21 correct?
22 I'm not really sure --                                      22     A.     Uh-huh.
                                                     Page 34                                                           Page 36
 1           MR. ADAMS: Can we look at this during              1      Q.     Were there any other expenses that ACRU
 2 the break?                                                   2 incurred in this case before they filed a petition?
 3           MR. ARNOLD: Sure. I just want to let               3      A.    Well, specific to Starr County?
 4 her finish answering the question.                           4      Q.     Yes, ma'am.
 5 BY MR. ARNOLD:                                               5      A.    I don't believe so, but the fact that
 6     Q.     Are you done with answering the question?         6 there are inaccurate voter rolls is an ongoing
 7     A.     Salary, expenses things that I actually           7 expense for us in our effort to educate people, to
 8 write checks for and pay, it is approximately                8 mobilize people to do something about it. So, there
 9 $1 million a year.                                           9 would be an expense there.
10           MR. ARNOLD: Thank you.                            10      Q.     Do you recall when you sent the notice
11           (Recess taken.)                                   11 letter to Mr. Montalvo in this case?
12 BY MR. ARNOLD:                                              12      A.    December 23, 2015.
13     Q.     Before the break, we were talking about          13      Q.     Do you know when Mr. Mashburn traveled to
14 the budget in Exhibit 2. When we were talking about         14 Starr County?
15 the mailings, you used the word "they." Who is              15      A.    January 26, 2016.
16 "they"?                                                     16      Q.     So, approximately a month later, Mr.
17     A.     We contract with two firms.                      17 Mashburn visited Starr County?
18     Q.     Who are the firms?                               18            MR. ADAMS: Objection. Asked and
19     A.     American Target Advertising and HSP              19 answered.
20 Direct.                                                     20            THE WITNESS: That's correct.
21     Q.     And they do your, I guess, mass mailings         21 BY MR. ARNOLD:
22 for you?                                                    22      Q.     Have you ever sent a notice letters like
                                                           Lexitas
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                                                        Page 37                                                           Page 39
 1 we see in Exhibit 1 to only state elections officials           1 focused on besides Mississippi and Texas?
 2 and not to county election officials?                           2          MR. ADAMS: Objection. Form. Vague.
 3     A.    No, I have not.                                       3          THE WITNESS: We sent notice letters to
 4     Q.    And I see on the letters that make up                 4 counties in Alabama, Kentucky, Arizona, Virginia,
 5 Exhibit 1, they are directed to county election                 5 Florida offhand. I believe that those were all of
 6 officials and then carbon copy to the Texas Secretary           6 the states.
 7 of State. Is that correct?                                      7 BY MR. ARNOLD:
 8     A.    That's correct.                                       8     Q.    What other factors besides focusing on a
 9     Q.    And is that to give the Secretary of                  9 state and the information provided by Mr. Camarota do
10 State and the county notice of a violation of the              10 you use to determine what counties to send notices
11 NVRA?                                                          11 letters no for NVRA violations?
12     A.    Yes.                                                 12          MR. ADAMS: Objection. Asked and
13     Q.    Is there any other purpose for sending               13 answered.
14 the letter?                                                    14          THE WITNESS: I don't know. My decision
15     A.    No.                                                  15 process -- I just make a decision.
16     Q.    I just want to clarify that there are no             16 BY MR. ARNOLD:
17 other factors that go into determining what counties           17     Q.    Have you ever sent notice letters to a
18 you send notice to letters to other than the                   18 county where the majority of the registered voters
19 determination of Mr. Camarota's report. Is that                19 belong to the Republican party?
20 right?                                                         20     A.   That is not -- party affiliation is not a
21     A.    Well, there are a lot of counties with               21 consideration that I take into account.
22 bad numbers. I have -- I have to make a choice, and            22     Q.    Is the size or financial resources of the
                                                        Page 38                                                            Page 40
 1 the number is -- the percentage number is the                   1 county a determination you use to take into account?
 2 starting point.                                                 2          MR. ADAMS: Objection. Compound, form.
 3      Q.   How do you -- what are the other factors              3 The question is compound.
 4 you use to determine what counties to send notice               4 BY MR. ARNOLD:
 5 letters to?                                                     5     Q.    Do you understand the question?
 6      A.   I have generally decided to look at a                 6     A.    I would prefer if you could rephrase it.
 7 particular state and notice the counties within that            7     Q.    Sure. I'll break it down for you.
 8 state that had excessively bad numbers.                         8          Do you take the financial resources of a
 9      Q.   What other states besides Texas have you              9 county into account when you are determining which
10 focused on?                                                    10 counties to send NVRA notice letters to?
11           MR. ADAMS: Objection to form. Vague.                 11     A.    Well, I don't specifically look at their
12           THE WITNESS: Mississippi.                            12 resources, but I certainly wouldn't -- I wouldn't say
13 BY MR. ARNOLD:                                                 13 that doesn't enter into it at some point.
14      Q.   How many counties did you send notice                14     Q.    Why would you not send a notice letter to
15 letters to in Mississippi?                                     15 a larger county or a more populous county?
16      A.   Offhand, I can't remember the precise                16     A.    Well, we have with Broward County.
17 number but there were several.                                 17 Broward County is the second largest county in the
18      Q.   More than 10?                                        18 State of Florida.
19      A.   I couldn't say for sure.                             19     Q.    What do you look at -- when you look at
20      Q.   More than five?                                      20 the financial resources of the county, what are you
21      A.   I believe so.                                        21 looking at?
22      Q.   Are there any other states that you                  22     A.    I don't really look at the financial
                                                             Lexitas
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                                                       Page 41                                                            Page 43
 1 resources of the county.                                       1 counties to send NVRA notice violation letters to?
 2           MR. ADAMS: Objection. Asked and                      2      A.   Yes. Mr. Camarota's report.
 3 answered.                                                      3      Q.    Are there any others?
 4 BY MR. ARNOLD:                                                 4      A.   No. Not that come to mind.
 5      Q.    You said it wasn't -- I thought you said            5      Q.    Can you describe to me the proper process
 6 before that it was something you took into account.            6 a county voter registrar should follow if they
 7      A.    Well, it's not really something that I              7 suspect voter fraud?
 8 take into account. It's a -- I suppose it's -- I               8           MR. ADAMS: Objection. Form, vague.
 9 don't really know what the financial considerations            9 BY MR. ARNOLD:
10 are in the county. I don't look at their -- I don't           10      Q.    If you know.
11 look at their books.                                          11      A.   There are a number of tools that an
12      Q.    Do you take into account the ability of a          12 administrator can use. They should be checking the
13 county to defend a lawsuit for an NVRA violation?             13 NCOA. They should be checking with the Department of
14           MR. ADAMS: Objection. Form, vague.                  14 Motor Vehicles. They should be checking at least the
15           THE WITNESS: I'm not sure I would know              15 local obituaries. They should be conducting regular
16 how to do that.                                               16 mailings to see if they get return mail.
17 BY MR. ARNOLD:                                                17           There are a number of tools that are
18      Q.    Are you provided any advice on what                18 available to them; the Department of Motor Vehicle
19 counties to send NVRA violation notices to?                   19 information, as you pointed out earlier, the Social
20           MR. ADAMS: Objection. Privileged. I'm               20 Security Death Index, simply looking at obituary,
21 going to instruct the witness not to answer.                  21 checking especially in smaller counties. I think
22 BY MR. ARNOLD:                                                22 that's a much easier task, to observe local funeral

                                                       Page 42                                                            Page 44
 1      Q.    Aside from your attorneys, are you                  1 home outreach, things of that nature. There are a
 2 provided any advice on who to send NVRA violation              2 number of steps.
 3 notice letters to?                                             3           MR. ADAMS: I am going to object to the
 4           MR. ADAMS: Objection. Privileged. I                  4 responsiveness of the answer because she answered the
 5 instruct the witness not to answer. It's work                  5 question you did not want to ask. Your question was
 6 product.                                                       6 about voter fraud being reported. So, plaintiffs
 7           MR. ARNOLD: Other than counsel -- what               7 object to the responsiveness of the answer.
 8 is your objection?                                             8 BY MR. ARNOLD:
 9           MR. ADAMS: She could be getting advice               9      Q.    You just listed a series of things a
10 from attorneys working with consultants and                   10 voter registrar could use to help them maintain their
11 demographers and election law experts. That's all             11 voter rolls. Right?
12 part of the attorney work product in her decision             12      A.   That's correct.
13 making. I'm going to instruct her again not to                13      Q.    What is the basis for that information,
14 answer.                                                       14 in your opinion?
15           MR. ARNOLD: If a third party knows about            15           MR. ADAMS: Objection. Form. Vague.
16 it, then --                                                   16 BY MR. ARNOLD:
17           MR. ADAMS: A third party working with               17      Q.    Well, is there a report you read or a
18 the attorneys to make a decision is privileged.               18 book you read or an article you read that listed
19 She's not going to answer.                                    19 these things, or is this just experience you've
20 BY MR. ARNOLD:                                                20 acquired over the years?
21      Q.    Are there any third parties other than             21      A.   Well, the NVRA has certain requirements
22 your attorneys that you use to inform yourself which          22 and, I think, common sense and good management.

                                                            Lexitas
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                                                  Page 45                                                 Page 47
 1     Q.    For example, the NVRA doesn't require         1 because that's where I was getting my information
 2 that a county registrar read the local obituaries.          2 from. So, this may be a good time to look at them.
 3 Where did you get that idea from?                           3                  (Carleson Exhibit No. 3,
 4     A.    Well, perhaps I'm putting myself in the           4                  email from John Mashburn to Susan
 5 place of an administrator and the steps that I would        5                  Carleson dated February 8, 2016
 6 take.                                                       6                  with attached receipts, Bates
 7     Q.    And you've never been a county                    7                  stamped ACRU-000072-84, was
 8 administrator?                                              8                  marked for identification.)
 9           MR. ADAMS: Objection. Asked and                   9 BY MR. ARNOLD:
10 answered.                                                  10        Q.    This is Exhibit 3. And that is Bates
11           THE WITNESS: No, I haven't.                      11 label add ACRU 72 to ACRU 84. And that is a list --
12 BY MR. ARNOLD:                                             12 an email and looks like a list of bills that Mr.
13     Q.    So, there's no report or book or anything        13 Mashburn sent to you after his trip to Starr County.
14 else you've come across and read that informed your        14 Is that right?
15 opinion of the steps you listed that the county            15        A.    Uh-huh. Yes.
16 registrar should take to maintain their voter rolls?       16        Q.    And that's what was provided to me. I
17     A.    Well, there are steps that we have been          17 didn't see any other bills Mr. Mashburn sent to you.
18 advising for many years, good management tools. I          18 Does this look like a complete list of bills Mr.
19 believe that best practices are written out. They          19 Mashburn sent to you?
20 are available to election administrators. There are        20        A.    I would assume they are. I have no
21 certain things that we just believe should be done in      21 reason to not think that they are.
22 order to maintain accurate rolls.                          22        Q.    I know it was almost two years ago.
                                                 Page 46                                                              Page 48
 1      Q.    We talked earlier about John Mashburn.           1        A.   Yes. It was quite awhile ago.
 2 What did he do when we worked for the ACRU?                 2        Q.    I am not asking you to remember that.
 3      A.    He was Executive Vice President for ACRU.        3 But it looks about right?
 4      Q.    What specifically was his job duty?              4             MR. ADAMS: Objection. Asked and
 5      A.    He assisted me in writing, doing                 5 answered.
 6 research, managing staff.                                   6 BY MR. ARNOLD:
 7      Q.    Was he directly underneath you in the            7        Q.    Does Exhibit 3 look complete to you?
 8 chain of command?                                           8             MR. ADAMS: Objection. Asked and
 9      A.    Yes.                                             9 answered.
10      Q.    Does Mr. Mashburn currently work for the        10             THE WITNESS: Yes. I believe it does.
11 ACRU?                                                      11 BY MR. ARNOLD:
12      A.    No, he does not.                                12        Q.    What was the total? I believe it is
13      Q.    When did he leave the ACRU?                     13 handwritten on the first page of Exhibit 3 that Mr.
14      A.    I believe it was around June of 2014.           14 Mashburn incurred.
15      Q.    And you said earlier, that Mr. Mashburn         15        A.   The total of the amount of the check that
16 traveled to Starr County on January 27, 2016.              16 I --
17 Correct?                                                   17        Q.    I don't know. What is handwritten? Let
18      A.    I believe it was the 26th, 27th, yes,           18 me just ask you that. What is handwritten on the
19 that's correct.                                            19 first page of the exhibit?
20      Q.    You know the date better than I do.             20        A.   $7,341.45.
21      A.    I remember the travel receipts.                 21        Q.    I'm sorry.
22      Q.    And I have those. Let's look at those,          22             MR. ARNOLD: Adam, was that you? Can you
                                                           Lexitas
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                                                      Susan Carleson                                              13 (49 - 52)
                                                     Page 49                                                       Page 51
 1 hear me?                                                     1     A.   I did not externally.
 2          MR. BITTER: I can hear all right, yes.              2     Q.    Do you know if Mr. Mashburn did?
 3          MR. ARNOLD: I just heard somebody on the            3     A.   I do not.
 4 phone. I just wanted to make sure you all were               4     Q.    Do you know if anyone else at the ACRU
 5 there.                                                       5 did?
 6          MR. BITTER: I'm still here, yes.                    6     A.   No.
 7 BY MR. ARNOLD:                                               7     Q.    Who did Mr. Mashburn meet when we went to
 8     Q.    $7,341.45. Correct?                                8 Starr County?
 9     A.    That's correct.                                    9          MR. ADAMS: Objection. Asked and
10     Q.    Is that your handwriting?                         10 answered.
11     A.    Yes, it is.                                       11          THE WITNESS: Mr. Montalvo.
12     Q.    That's the check you paid to Mr. Mashburn         12 BY MR. ARNOLD:
13 to reimburse him for his expenses for his trip to           13     Q.    Do you know if he met with anyone else?
14 Starr County?                                               14     A.   I believe that Mr. Montalvo's assistant
15     A.    That's correct.                                   15 was present as well. I believe his name was John but
16     Q.    Why did Mr. Mashburn travel to Starr              16 I'm not certain of that.
17 County?                                                     17     Q.    Presumably, John Rodriguez who is the
18     A.    To meet with Mr. Montalvo to try to work          18 current elections administrator in Starr County. Is
19 out an arrangement for them to clean up their voting 19 that your understanding?
20 rolls so we would not have to institute litigation.         20     A.   Oh. Then that's who that would have
21     Q.    Before Mr. Mashburn traveled to Starr             21 been.
22 County, did he call Mr. Montalvo on the telephone or        22     Q.    When Mr. Mashburn went down to Starr
                                                     Page 50                                                           Page 52
 1 email?                                                       1 County, did he request any documents from
 2     A.    I believe there was communication between          2 Mr. Montalvo?
 3 him and Mr. Montalvo or his assistant.                       3     A.   I was not present, so I presume -- I
 4     Q.    And they arranged to meet on January 27?           4 don't know what to presume. I don't know.
 5     A.    Yes.                                               5     Q.    Let me ask you this. What was the
 6     Q.    Did you or anyone else at the ACRU                 6 purpose of Mr. Mashburn's visit to Starr County other
 7 contact Starr County other than Mr. Mashburn?                7 than to have a general conversation with
 8     A.    I sent the notice letter to Starr County.          8 Mr. Montalvo?
 9     Q.    That was in December 2015. Correct?                9          MR. ADAMS: Objection. Asked and
10     A.    That's correct.                                   10 answered and mischaracterizes her prior testimony.
11     Q.    Other than that, did anyone at the ACRU           11          THE WITNESS: Mr. Mashburn went there
12 attempt to contact Starr County other than Mr.              12 with the intent of resolving the problem.
13 Mashburn?                                                   13 BY MR. ARNOLD:
14     A.    No.                                               14     Q.    What was the problem?
15     Q.    Before Mr. Mashburn went to Starr County,         15          MR. ADAMS: Objection. Asked and
16 did he or anyone at the ACRU attempt to obtain              16 answered.
17 documents from Starr County?                                17          THE WITNESS: Bloated voter rolls.
18     A.    We had requested documents in our notice          18 BY MR. ARNOLD:
19 letter, but we had not received any.                        19     Q.    In ACRU's opinion, too many people were
20     Q.    Did you follow up through your notice             20 registered to vote in Starr County. Is that right?
21 letter on a phone call or another letter saying, we         21          MR. ADAMS: Objection. Asked and
22 hadn't gotten the documents yet?                            22 answered and argumentative.

                                                          Lexitas
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                                                          Page 53                                                        Page 55
 1 BY MR. ARNOLD:                                                    1 BY MR. ARNOLD:
 2      Q.    Is that correct?                                       2     Q.    In your opinion, what are the best
 3      A.    Yes. As I know this letter pointed out,                3 practices for a county to maintain their voter
 4 there was 109 percent of the citizen voting age                   4 registration rolls?
 5 population registered to vote.                                    5     A.   Well, I'm not an expert in this area
 6      Q.    So, Mr. Mashburn's visit was a follow-up               6 because I've never practiced it, but they should be
 7 to your December 2015 notice letter. Correct?                     7 -- well, by law, they should be doing mailings to see
 8      A.    Yes.                                                   8 who has moved out. The NCOA will alert them to the
 9      Q.    Did he go -- did you talk with Mr.                     9 fact with return mail.
10 Mashburn before he went to Starr County?                         10          They should be checking the Social
11      A.    Briefly.                                              11 Security Death Index. They should be making efforts
12      Q.    What did you all discuss about his trip               12 to -- in a small county, where you know who your
13 to Starr County?                                                 13 funeral homes are, I think that enables them to have
14      A.    The goal was to -- just simply the goal.              14 a personal, a more personal relationship with those
15 We didn't go into any tremendous detail about it. He             15 and be able to get accurate information.
16 knew what the goal was.                                          16          There should be cross checking with other
17      Q.    What was the goal?                                    17 counties, with other states. They should be checking
18      A.    To try to get Mr. Montalvo to agree that              18 the Department of Motor Vehicles' records. There are
19 he would take remedial action to correct the problems            19 a number of areas that should be -- jury
20 with the voter rolls.                                            20 declinations. A number of management techniques
21      Q.    What specific remedial actions was Mr.                21 exist. A number of tools exist that are easily
22 Mashburn going to ask Mr. Montalvo to address?                   22 implemented and can help ensure accurate voter rolls.

                                                          Page 54                                                        Page 56
 1     A.    List maintenance practices. The problem                 1               (Carleson Exhibit No. 4,
 2 was they had bad numbers, but the numbers were so bad             2               document entitled "Best Practices
 3 there was obvious lacking of any list maintenance                 3               for Achieving Integrity in Voter
 4 activity. The goal was to get them to acknowledge                 4               Registration," was
 5 that and correct the situation.                                   5               marked for identification.)
 6     Q.    Did Mr. Mashburn bring any best practices               6          MR. ARNOLD: I'll mark this Exhibit 4. I
 7 documentation or pamphlet with them to say, here is               7 apologize. I only have one copy but I'm sure
 8 what we think you should be doing?                                8 everybody is familiar with it.
 9     A.    I don't know, but Mr. Mashburn was well                 9 BY MR. ARNOLD:
10 acquainted with best practices and management                    10     Q.    This is the Best Practices for Achieving
11 techniques.                                                      11 Integrity and Voter Registration, a report prepared
12     Q.    And if you know -- you may not know -- do              12 by the Public Interest Legal Foundation. Have you
13 you think Mr. Mashburn's opinion of best practices               13 ever seen this before?
14 for list maintenance were the same ones you listed               14     A.    Yes, I have.
15 earlier about obituaries and using the National                  15     Q.    And does that give an accurate summary of
16 Change of Address database?                                      16 what you think the best practices are for elections
17           MR. ADAMS: Objection. That response                    17 and registration?
18 that the witness gave was objected to as                         18     A.    Yes.
19 nonresponsive, and the question that was objected to             19          MR. ADAMS: Objection to form. Vague.
20 was vague. As far as I know, you haven't asked what              20 BY MR. ARNOLD:
21 the best practices are. So, we're going to object to             21     Q.    I'm sorry. What was your answer?
22 that question.                                                   22     A.    Yes. I think it is a very well presented
                                                               Lexitas
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                                                        Susan Carleson                                          15 (57 - 60)
                                                       Page 57                                                   Page 59
 1 document.                                                    1     A.      Yes. I was not present so I don't know.
 2     Q.     Do you know who wrote that document?                2      Q.   Did Mr. Mashburn come back with my
 3     A.     Yes.                                                3 documents from his trip to Starr County?
 4     Q.     Who wrote the document?                             4      A.   No.
 5     A.     The Public Interest Legal Foundation.               5      Q.   Do you know why Mr. Mashburn did not
 6     Q.     Do you know specifically who authored it?           6 return with any documents from Starr County?
 7     A.     Specifically who authored it?                       7      A.   Mr. Montalvo said he had no intent to
 8     Q.     Yes, ma'am.                                         8 cooperate with us.
 9     A.     I presume that --                                   9      Q.   Did you meet with Mr. Mashburn when he
10          MR. ADAMS: Objection. Relevance. It                  10 returned from his trip to Starr County?
11 has nothing to do with this case. I mean, maybe you           11      A.   We spoke on the phone.
12 want to argue with her about this, but this doesn't           12      Q.   What did you all talk about on the phone?
13 have anything to do with this case.                           13      A.   Basically, that he made the trip. He
14          MR. ARNOLD: Your objection is relevance?             14 wasn't getting a report. He was no longer an
15          MR. ADAMS: Correct.                                  15 employee of us. I had contracted with him.
16 BY MR. ARNOLD:                                                16      Q.   Do you remember what Mr. Mashburn told
17     Q.     Do you understand the question?                    17 you on the telephone about his conversations with
18     A.     Yes. I don't personally know. I assume             18 Mr. Montalvo?
19 it was a collaborative effort.                                19      A.   Yes, that there was no cooperation
20     Q.     Did you participate in creating that               20 forthcoming.
21 document?                                                     21      Q.   Anything specific? Did Mr. Montalvo say,
22     A.     No, I did not.                                     22 "No, I'm not giving you a single document"?

                                                       Page 58                                                            Page 60
 1     Q.     Did anyone at the ACRU participate in               1     A.    I don't recall the specificity. The
 2 creating that document?                                        2 bottom line was there was not going to be any
 3     A.   No, we did not, no.                                   3 cooperation.
 4     Q.     So, when Mr. Mashburn went down to Starr            4     Q.    And Mr. Mashburn prepared a report, you
 5 County to meet with Mr. Montalvo in January 2016, you          5 said, about his trip to Starr County?
 6 said earlier you don't know what documents he                  6     A.    Yes.
 7 requested, but he was trying to meet with                      7     Q.    Was it a written report?
 8 Mr. Montalvo about best practices for the county.              8     A.    Yes.
 9 Correct?                                                       9     Q.    Do you have a copy of the written report?
10     A.   Correct.                                             10     A.    Not with me.
11          MR. ADAMS: Objection. Asked and                      11     Q.    Does the ACRU have a copy of the written
12 answered.                                                     12 report?
13 BY MR. ARNOLD:                                                13     A.    Yes.
14     Q.     Do you know if he requested any documents          14     Q.    Did he email that report to you?
15 while he was in Starr County?                                 15     A.    I believe so, yes.
16     A.   I believe he did but I was not present.              16     Q.    And does Mr. Mashburn live in the
17     Q.     So, you don't know what documents he               17 Washington, D.C. area or does he live somewhere else?
18 requested?                                                    18     A.    He lives in D.C.
19          MR. ADAMS: Objection. Asked and                      19     Q.    Did he at the time, around January 2016,
20 answered.                                                     20 live in the D.C. area?
21 BY MR. ARNOLD:                                                21     A.    Yes.
22     Q.     Go ahead.                                          22     Q.    Did he personally come into the ACRU

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 1 office or meet you over coffee to discuss this trip        1     Q.        What did Mr. Montalvo say when he called
 2 to Starr County?                                               2 you?
 3           MR. ADAMS: Objection. Asked and                      3     A.    He said that he didn't think that we were
 4 answered. She said it was on the telephone.                    4 correct in our assessment of his voter rolls.
 5           THE WITNESS: It was on the telephone.                5     Q.    Custody he say anything else?
 6 BY MR. ARNOLD:                                                 6     A.    I said, well, we were basing it on
 7      Q.    There was no other contact with you and             7 information that we had and that we would have
 8 Mr. Mashburn about his trip to Starr County?                   8 someone come down and visit with him.
 9      A.   No.                                                  9     Q.    Okay. What did Mr. Montalvo respond to
10      Q.    Did you read Mr. Mashburn 's report?               10 that?
11      A.   Yes.                                                11     A.    Nothing.
12      Q.    What did his report say?                           12     Q.    That was the end of the conversation?
13      A.   It basically said he had made inquiries             13     A.    That was the end of the conversation,
14 about various aspects of list maintenance activities 14 correct.
15 with Mr. Montalvo and that the responses were that 15                Q.    Was Mr. Montalvo rude or impolite on that
16 activity wasn't being -- wasn't ongoing, and that's           16 phone call?
17 about it.                                                     17     A.    No.
18      Q.    Did you ever personally talk with                  18     Q.    Does the ACRU have any members in Starr
19 Mr. Montalvo?                                                 19 County?
20      A.   Mr. Montalvo placed a telephone call to             20     A.    I believe we have one member who lives
21 me.                                                           21 within the ZIP code of Starr County.
22      Q.    Did you talk to him on the telephone?              22     Q.    Do you know who that member is?
                                                       Page 62                                                       Page 64
 1     A.    I did.                                               1          MR. ADAMS: Objection. Plaintiff has
 2     Q.    What did you all discuss?                            2 objected to the -- withdraw the objection. Your
 3     A.    He wanted to know -- he wanted to discuss            3 question was, do you know who that member is?
 4 with me about his county. I told him that someone              4          MR. ARNOLD: Yes.
 5 would be coming down to meet with him, and that was            5          MR. ADAMS: Okay.
 6 about it. It wasn't much of a conversation.                    6          THE WITNESS: No, I do not.
 7     Q.    So, you did talk to Mr. Montalvo before              7 BY MR. ARNOLD:
 8 Mr. Mashburn visited Starr County. Correct?                    8     Q.    Does the ACRU keep a list of its members?
 9     A.    Yes. He initiated a phone call to me.                9     A.    I had no interest in knowing the name of
10     Q.    Other than what you just said, were there           10 the member, only how many we have.
11 any specifics you recall about the conversation with          11     Q.    Why did you not have any interest in
12 Mr. Montalvo?                                                 12 knowing the name of the member?
13     A.    Not particularly.                                   13     A.    It's irrelevant to me and it's not
14     Q.    Was it a brief conversation?                        14 information that I would convey anyway.
15     A.    Yes.                                                15     Q.    Why is that?
16     Q.    Was it less than a minute?                          16     A.    We don't divulge the names of our donors
17     A.    I would say that it was less than three             17 for privacy reasons.
18 minutes.                                                      18                 (Carleson Exhibit No. 5,
19     Q.    Okay. Did Mr. Montalvo on that phone                19                 email from Jorge Canales at Starr
20 call offer to send you think documents or clarify any         20                 County Town Crier to Stacey
21 requests you may have?                                        21                 Cornett dated December 23, 2015,
22     A.    No, he did not.                                     22                 Bates stamped ACRU-00007071, was
                                                            Lexitas
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                                                     Page 65                                                            Page 67
 1              marked for identification.)                     1 2015. Correct?
 2          MR. ARNOLD: This is Exhibit 5 which is              2       A.    Yes.
 3 Bates labeled ACRU 70 and ACRU 71.                           3       Q.    Who is the person -- I see you are copied
 4          MR. ADAMS: Thank you.                               4 on the email. Who is the person who actually emailed
 5 BY MR. ARNOLD:                                               5 Starr County Town Crier?
 6     Q.    Have you seen this before?                         6       A.    That was an assistant with one of our
 7     A.   Yes.                                                7 vendors.
 8     Q.    What is Exhibit 5?                                 8       Q.    Not an ACRU employee?
 9     A.   This is the ad that we took in the                  9       A.    No.
10 newspaper.                                                  10       Q.    Do you have the records of this ad and
11     Q.    What newspaper?                                   11 did you get a copy of the ad, that copy and bills for
12     A.   The Starr County Town Crier.                       12 it?
13     Q.    And that's the ad you referenced earlier          13       A.    I'm sure I have it, yes.
14 that you all used to promote voter awareness in Starr       14       Q.    Other than this ad, was there any other
15 County. Is that right?                                      15 expense ACRU incurred prior to sending down Mr.
16     A.   Yes.                                               16 Mashburn to Starr County?
17     Q.    Do you know what the ad looked like?              17       A.    I do not believe so, specifically, no.
18     A.   Yes, I do.                                         18       Q.    After Mr. Mashburn visited Starr County
19     Q.    What did the ad say?                              19 and other than this lawsuit, did the ACRU incur any
20     A.   "Are The Dead Voting In Starr County?"             20 expenses in Starr County?
21     Q.    Could you describe the ad?                        21       A.    Could you --
22     A.   To the best of my recollection, it had a           22            MR. ADAMS: Objection. Asked and
                                                     Page 66                                                            Page 68
 1 -- it was a graphic depicting a tombstone with an "I         1 answered.
 2 voted" sticker on it and then the question: "Are The         2 BY MR. ARNOLD:
 3 Dead Voting In Starr County?"                                3       Q.    Let me rephrase it. I think you
 4     Q.    When did that ad run in the Starr County           4 testified earlier, I just want to confirm it, that
 5 Town Crier?                                                  5 this ad that's Exhibit 5 and Mr. Mashburn's expenses
 6     A.    Well, this is dated December 23.                   6 are the only two expenses the ACRU incurred before
 7     Q.    Of what year?                                      7 filing this lawsuit. Is that right?
 8     A.    I'm sorry. 2015.                                   8            MR. ADAMS: Objection. Asked and
 9     Q.    So, before Mr. Mashburn visited Starr              9 answered.
10 County. Is that right?                                      10            THE WITNESS: Well, there would have been
11     A.    Yes.                                              11 -- yes. That's it. That's it.
12     Q.    What was the date of your notice letter           12 BY MR. ARNOLD:
13 to Starr County?                                            13       Q.    Okay. Did the ACRU put any projects on
14     A.    December 23.                                      14 hold because of the money it spent in Starr County
15     Q.    So, did the ad run at the same time you           15 sending Mr. Mashburn down there and running the ad in
16 sent the notice letter to Starr County?                     16 Starr County?
17     A.    Apparently so, yes.                               17       A.   On hold?
18     Q.    Do you remember what day the ad was               18       Q.    Yes, ma'am.
19 published in the Starr County Town Crier?                   19            MR. ADAMS: Objection to form. Vague.
20     A.    I don't. It ran January 6, according to           20            THE WITNESS: I can't -- I don't really
21 this.                                                       21 know how to answer that. I presume -- I don't
22     Q.    But you requested the ad on December 23,          22 believe there was anything that we didn't do. We may

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                                                       Page 69                                                             Page 71
 1 have -- we may have had a restricted budget from one           1            THE WITNESS: I suspect that is a
 2 of our projects as a results because it was quite a            2 decision that our attorneys are going to make based
 3 bit of money that we expended, but I don't believe we          3 on other consent decrees that we have received.
 4 put anything on hold.                                          4 BY MR. ARNOLD:
 5 BY MR. ARNOLD:                                                 5       Q.    So, the ACRU's goal is more global. You
 6     Q.    How did the ACRU get its name?                       6 are not looking for any specific action?
 7     A.    My husband chose it.                                 7            MR. ADAMS: Objection to form, vague; and
 8     Q.    Do you know why he chose the American                8 asked and answered.
 9 Civil Rights Union?                                            9            THE WITNESS: Yes. We want clean voter
10     A.    Yes.                                                10 rolls.
11     Q.    Why did he choose the American Civil                11 BY MR. ARNOLD:
12 Rights Union?                                                 12       Q.    As far as -- for example, your best
13     A.    Because he wanted us to be the answer to            13 practice that you listed, would you like the judge to
14 the American Civil Liberties Union.                           14 order the Starr County elections administrator to
15     Q.    I figured it was a play on ACLU but I               15 read the obituaries weekly?
16 just wasn't sure.                                             16       A.    I would like for them to do everything
17          What did your husband do before he                   17 that's necessary to maintain accurate voter rolls,
18 started ACRU?                                                 18 because the citizen residents of the county deserve
19     A.    My husband --                                       19 it.
20          MR. ADAMS: Objection. Relevance. This                20       Q.    I just want to explore that with you.
21 is a 30(b)(6) deposition.                                     21 What do you think is necessary? Everything we talked
22          THE WITNESS: My husband had a long                   22 about earlier as best practices or is there anything

                                                       Page 70                                                             Page 72
 1 career with Ronald Reagan as Governor and President,           1 else?
 2 and as a professional city manager.                            2       A.   Yes. I would like it all.
 3 BY MR. ARNOLD:                                                 3       Q.    So, the best practices we talked about
 4     Q.    Before you sent your notice letter in                4 earlier, is that one of them?
 5 December of 2015 to Starr County, did the ACRU have            5       A.   Uh-huh.
 6 any contact with the Starr County Elections Office?            6       Q.    Is there anything else you think Starr
 7     A.   No.                                                   7 County needs to do besides implementing the best
 8     Q.    If the ACRU wins this case, what is the              8 practices we discussed?
 9 ACRU's hope that the judge will issue an order,                9            MR. ADAMS: Objection. Asked and
10 ordering Starr County to perform certain acts?                10 answered.
11          MR. ADAMS: Objection; speculation, form,             11            THE WITNESS: I'm not sure what the
12 vague.                                                        12 question is. We want them to clean up their voter
13 BY MR. ARNOLD:                                                13 registration rolls. That's what our lawsuit is
14     Q.    Do you have a goal if you win this                  14 about.
15 lawsuit, what would you want the judge to do?                 15 BY MR. ARNOLD:
16     A.   I have a goal that the voter rolls would             16       Q.    Really what I'm getting at here is kind
17 be cleaned up.                                                17 of more specifically, if the ACRU -- and you may not.
18     Q.    Do you have any specific idea of what the           18 I don't know. But do you have a goal of what -- the
19 American Civil Rights Union will request the judge to         19 judge is going to issue an order in this case saying
20 order the county to do?                                       20 something, maybe dismissing the lawsuit, maybe ruling
21          MR. ADAMS: Objection. Speculation.                   21 in favor of the county, maybe ruling in favor of the
22 Privileged.                                                   22 Secretary of State, maybe ruling in favor of the

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 1 ACRU.                                                         1 they can to get the voter rolls cleaned up and to
 2           If the judge rules in favor of the ACRU,              2 maintain them going forward.
 3 what do you want the judge or the county or the state           3 BY MR. ARNOLD:
 4 to do?                                                          4     Q.    Do you have any opinions about John
 5           MR. ADAMS: Objection. This is                         5 Rodriguez, the current elections administrator in
 6 speculative, premature. It calls for a legal                    6 Starr County?
 7 conclusion by the witness and it's been asked and               7          MR. ADAMS: Objection; form, vague.
 8 answered.                                                       8          THE WITNESS: Any opinions?
 9 BY MR. ARNOLD:                                                  9 BY MR. ARNOLD:
10      Q.    Do you understand the question?                     10     Q.    Yes, ma'am.
11           MR. ADAMS: It wasn't a vagueness                     11     A.    I've not met the gentleman. I have no
12 objection.                                                     12 real opinion.
13           THE WITNESS: We want the voter rolls                 13     Q.    Have you read Mr. Rodriguez's deposition
14 cleaned up and we want a signal sent to other                  14 in this case?
15 counties that they need to clean up their rolls.               15     A.    Yes, I have.
16 That's our goal. That's what we're after.                      16     Q.    Did you form any opinions from that
17 BY MR. ARNOLD:                                                 17 deposition?
18      Q.    I get that as a global goal, but are                18     A.    It appears that he has -- he is not
19 there any specific things you want the judge to say            19 taking care of his voter rolls and that there is a
20 because the judge issuing an order saying clean up             20 lack of list maintenance practices that frankly are
21 your voter rolls is a little vague. Is there                   21 appalling.
22 anything you want the judge to say specifically?               22     Q.    Do you have any other opinions based on
                                                        Page 74                                                        Page 76
 1           MR. ADAMS: Objection. That's                          1 that?
 2 argumentative. That's now the fifth time you asked              2     A.   No.
 3 that question. This is my fifth asked and answered.             3     Q.    Did you have any opinions of Mr. Montalvo
 4           MR. ARNOLD: She hasn't answered the                   4 before he passed away?
 5 question.                                                       5     A.   No.
 6           MR. ADAMS: She's answered it four, five               6     Q.    Was the only contact you had with
 7 times different ways. You've asked for her to tell              7 Mr. Montalvo the one where Mr. Montalvo called you?
 8 you what she will ask for in a remedial stage.                  8          MR. ADAMS: Objection. Asked and
 9 That's what you're asking. Nobody knows this.                   9 answered.
10           She's answered this a number of times                10          THE WITNESS: That's correct.
11 with specifics about reading the obituaries. She has           11 BY MR. ARNOLD:
12 gone over a laundry list of things. She's given you            12     Q.    Do you think that the Texas Secretary of
13 general answers. And this is the fifth asked and               13 State has established a reasonable system to remove
14 answered objection on this question.                           14 voters from Texas voter rolls?
15 BY MR. ARNOLD:                                                 15     A.   I don't have a basis for -- to make --
16      Q.    Is the answer to the question you don't             16 have an opinion on that.
17 have anything specific in mind you will ask the judge          17     Q.    So, no opinion whether or not --
18 in this case?                                                  18          MR. ADAMS: Objection. Asked and
19           MR. ADAMS: Objection. Asked and                      19 answered.
20 answered, and that's mischaracterizing the testimony.          20          THE WITNESS: I really have no opinion on
21           THE WITNESS: I would like the judge to               21 that.
22 order Starr County to do everything reasonable that            22 BY MR. ARNOLD:

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 1     Q.    What is your understanding of the                   1     A.      Eight.
 2 State -- the Texas Secretary of State system they               2     Q.    Okay. We have Starr County is one,
 3 implement to maintain voter rolls in Texas?                     3 Zavala County is two, there was a county in
 4     A.    I understand there is something called                4 Mississippi. Correct?
 5 TEAM, Texas Election Administrative System (sic), I             5     A.    Walthall County in Mississippi, Jefferson
 6 believe, that provides information to counties.                 6 Davis County in Mississippi, Clark County,
 7     Q.    Okay. Do you know any other details                   7 Mississippi, and Nexubee County, Mississippi.
 8 other than that?                                                8     Q.    Then there was Broward County, Florida?
 9     A.    No.                                                   9     A.    Correct.
10     Q.    Have you looked at the Texas                         10     Q.    And what is the eighth one?
11 administrator as it relates to the Secretary of                11     A.    Starr.
12 State's rules regarding elections in Texas?                    12     Q.    I thought I already had Starr in there.
13     A.    Well, there are certain rules that are               13          MR. ADAMS: We will stipulate it's the
14 there that Starr County was not following.                     14 City of Philadelphia.
15     Q.    So, you have read the Texas                          15          THE WITNESS: I'm sorry. I forgot
16 Administrative Code about elections law, the                   16 Philadelphia.
17 elections rules?                                               17 BY MR. ARNOLD:
18     A.    Not the entire code.                                 18     Q.    Would that make it nine? Did we list
19     Q.    The code that encompasses many branches              19 them all?
20 of state government, but have you read the ones that           20     A.    I believe so. I believe they are all
21 pertain to Texas elections law?                                21 listed, yes.
22     A.    I have some familiarity.                             22     Q.    How many lawsuits is the NVRA currently
                                                        Page 78                                                         Page 80
 1          MR. ADAMS: Objection. Asked and                        1 engaged in?
 2 answered.                                                       2          MR. ADAMS: Objection; form, vague.
 3          MR. ARNOLD: I think she's adding to her                3 BY MR. ARNOLD:
 4 answer.                                                         4     Q.    How many lawsuits is the ACRU currently
 5          THE WITNESS: I have certain familiarity.               5 engaged in?
 6 BY MR. ARNOLD:                                                  6     A.   We are currently engaged in Starr County
 7     Q.    Do you think the Secretary of State's                 7 and Broward County.
 8 Administrative Code is inadequate to run a reasonable           8     Q.    Has the judge in the Broward County case
 9 system for the State of Texas?                                  9 issued an opinion that you're aware of?
10     A.    I have no opinion.                                   10          MR. ADAMS: Objection. Relevance.
11     Q.    Do you think the Secretary of State, the             11 BY MR. ARNOLD:
12 TEAM system you described earlier, is adequate to run          12     Q.    That you're aware of?
13 a reasonable system in Texas?                                  13     A.   Not a final ruling.
14     A.    I have no opinion.                                   14          MR. ARNOLD: Do you want to take a break?
15     Q.    Do you think the Texas Secretary of State            15          MR. ADAMS: Sure.
16 is doing a good job implementing it system that's              16          (Recess taken.)
17 required under the NVRA?                                       17                (Carleson Exhibit No. 6, printout
18     A.    I really have no opinion.                            18                from ACRU web site entitled
19     Q.    How many counties has the ACRU initiated             19                "Mission Statement," was
20 litigation against NVRA Section 8 violations?                  20                marked for identification.)
21     A.    I think it's -- let's see. Eight.                    21 BY MR. ARNOLD:
22     Q.    Eight?                                               22     Q.    Ms. Carleson, I marked this as Exhibit 6
                                                             Lexitas
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 1 and we talked about it a little earlier. I just                   1           ACKNOWLEDGMENT OF DEPONENT
 2 printed this off your web site. This is -- it didn't              2            I, ____________________________, do
 3 print very well, I tell you, but a Mission Statement.             3 hereby certify that I have read the foregoing pages
 4 It was the tab it was under on the ACRU web site.                 4 ___ to ____ and that the same is a correct
 5           Is that Mission Statement inclusive of                  5 transcription of the answers given by me to the
 6 the activities the ACRU was promoting?                            6 questions therein propounded, except for the
 7      A.    Yes.                                                   7 corrections or changes in form or substance, if any,
 8           MR. ARNOLD: I don't have any other                      8 noted in the attached Errata Sheet.
 9 questions. I'll pass the witness.                                 9
10           MR. ADAMS: What about --                               10 _______________                ______________________
11           MR. ARNOLD: Adam, do you have any                      11 DATE                    SIGNATURE
12 questions?                                                       12
13           MR. BITTER: No. I do not have any                      13         Subscribed and sworn to before
14 questions. Just for the record, the Defendant Pablos             14 me this
15 did not serve a notice for the 30(b)(6) deposition               15 _________ day of ________________ 2018.
16 today. We don't have any designated topics at this               16
17 time. We obviously reserve the right to do a                     17                   My commission expires:
18 30(b)(6) down the road but at this time, we do not               18                   _________________________
19 have any questions. Thank you.                                   19                   _________________________
20                   EXAMINATION                                    20                   Notary Public
21 BY MR. ADAMS:                                                    21
22      Q.    Mrs. Carleson, as I understand your                   22

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 1 testimony, you've read Mr. Palmer's expert report in              1          CERTIFICATE OF NOTARY PUBLIC
 2 this case?                                                        2           I, Carol J. Robinson, RPR the officer
 3     A.    Yes, I have.                                            3 before whom the foregoing cause was taken, do hereby
 4     Q.     Do you agree with his conclusions?                     4 certify that the witness whose testimony appears in
 5     A.    Yes, I do.                                              5 the foregoing transcript was taken by me in shorthand
 6     Q.     Do you agree about the number of matters               6 at the time mentioned in the caption hereof and
 7 he recommended that the defendant implement as a list             7 thereafter transcribed by me; that said transcript is
 8 maintenance procedure?                                            8 a record of the testimony given by said witness to
 9     A.    Yes, I do.                                              9 the best of my ability; that I am neither counsel
10           MR. ADAMS: I have nothing else.                        10 for, related to, nor employed by any parties to the
11           MR. ARNOLD: I have no questions. I                     11 action; and further, that I am not a relative or
12 guess, Adam, it's back to you.                                   12 employee of any counsel or attorney employed by the
13           MR. BITTER: I have none.                               13 parties hereto, nor financially or otherwise
14           MR. ARNOLD: We will go off the record.                 14 interested in the outcome of this action.
15           (WHEREUPON, at 10:45 a.m. the deposition               15
16 of SUSAN CARLESON concluded.)                                    16              CAROL J. ROBINSON
17                                                                  17          Notary Public in and for the
18                                                                  18            District of Columbia
19                                                                  19
20                                                                  20 My commission expires:
21                                                                  21 March 1, 2020
22                                                                  22

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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

AMERICAN CIVIL RIGHTS UNION,                  §
in its individual and corporate capacities,   §
         Plaintiff,                           §
                                              §
       v.                                     §      Civil Action No. 7:16-CV-00103
                                              §
ELECTION ADMINISTRATOR                        §
JOHN RODRIGUEZ, in his official               §
capacity; and TEXAS SECRETARY OF              §
STATE ROLANDO PABLOS, in his                  §
official capacity,                            §
        Defendants.                           §


                         AFFIDAVIT OF JOHN RODRIGUEZ
                    STARR COUNTY ELECTIONS ADMINISTRATOR

STATE OF TEXAS                         §
                                       §      KNOW ALL BY THESE PRESENTS:
COUNTY OF STARR                        §


       BEFORE ME, the undersigned authority, on this date appeared an individual identified to

me as John Rodriguez, who upon his oath states and affirms as follows:

       “My name is John Rodriguez. I am over the age of 18 years, of sound mind, and otherwise

competent to make this Declaration. I declare under penalty of perjury that the foregoing is true

and correct.

       I am currently employed as the Starr County Elections Administrator. I have served in this

post since May 4, 2017. Prior to being appointed as Starr County Elections Administrator, I was

employed with the Starr County Elections Office for approximately 14 years. Prior to my

appointment as Starr County Elections Administrator, that position was held by Mr. Rafael

Montalvo, who died on April 9, 2017.


Affidavit of John Rodriguez                                                               Page 1
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       Starr County is an “online county” that shares its voter registration database with the Texas

Secretary of State. Both the Texas Secretary of State and Starr County have access to Starr

County’s voter registration information and may remove voters from Starr County’s voter roll. On

a daily basis, Starr County receives information from the Texas Secretary of State regarding voters

who may have moved to a new county, may have died, or may be a convicted felon. Starr County

relies, in part, on the Texas Secretary of State to provide this information to the County.

       Sometime after December 23, 2015, my office received a letter from the American Civil

Rights Union (ACRU). This is the same letter attached to Plaintiff’s Original and First Amended

Petition. After receipt of this letter, Mr. Montalvo called Mrs. Susan Carleson, President of the

ACRU, and discussed the concerns raised in the letter.

       On January 27, 2016, Mr. John Mashburn, a representative of the ACRU, came to our

office at the Starr County Courthouse Annex. At this meeting Mashburn requested copies of the

documents listed in Plaintiff’s December 23, 2015 letter. My office made copies of all requested

documents and provided them to Mashburn. Mashburn looked through all of the copies while in

Mr. Montalvo’s office. We provided him a binder of these copies for Mashburn to take with him.

Mashburn stated that the documents looked to be in order, that there was no issue with the

documents, and he declined to take copies with him. Mashburn then left our office. True and

correct copies of these documents are attached to this affidavit as Exhibit A. Exhibit A was created

on January 27, 2016 and was available for Mashburn to take with him prior to leaving our office.

At no time did anyone at the Starr County Elections Administration Office tell Mr. Mashburn that

he would not be provided copies of the documents he requested. After January 27, 2016, our office

had no further contact with Mashburn or anyone from the ACRU until we were served with this

lawsuit.



Affidavit of John Rodriguez                                                                   Page 2
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Bellitto v. Snipes, 268 F.Supp.3d 1328 (2017)




                                                                  Rind, P.A., Katherine Roberson–Young, SEIU, Miami,
                268 F.Supp.3d 1328                                FL, Alvin Velazquez, Nicole G. Berner, Trisha Pande,
      United States District Court, S.D. Florida.                 Service Employees International Union, Catherine M.
                                                                  Flanagan, Michelle Kanter Cohen, Project Vote, Carrie F.
    Andrea BELLITTO and American Civil Rights                     Apfel, Jessica Ring Amunson, Marina K. Jenkins, Tassity
                  Union, Plaintiffs,                              S. Johnson, Jenner & Block LLP, Washington, DC,
                          v.                                      Cameron Bell, Scott Novakowski, Stuart C. Naifeh,
    Brenda SNIPES, in her official capacity as the                Demos, David Slutsky, Levy Ratner PC, New York, NY,
     Supervisor of Elections of Broward County,                   Kali N. Bracey, Jenner & Block LLP, Washingtion, DC,
                Florida, Defendant,                               for Defendant and Intervenor Defendant.
                          v.
     1199SEIU United Healthcare Workers East,                     Opinion
               Intervenor Defendant.

         Case No. 16–cv–61474–BLOOM/Valle
                          |                                                            *1330 ORDER
                  Signed 07/21/2017
                                                                  BETH BLOOM, UNITED STATES DISTRICT JUDGE

Synopsis                                                          THIS CAUSE is before the Court upon a sua sponte
Background: Advocacy organization brought action                  review of the record. On June 27, 2016, Plaintiff
against county’s supervisor of elections, asserting               American Civil Rights Union (“Plaintiff” or “ACRU”)
violations of the National Voter Registration Act of 1993         and Andrea Bellitto (“Bellitto”),1 one of ACRU’s
(NVRA) and the Help America Vote Act.                             members, initiated these proceedings, bringing two claims
                                                                  against Defendant Brenda Snipes (“Defendant” or
                                                                  “Snipes”), the Supervisor of Elections of Broward
                                                                  County, Florida, under Section 8 of the National Voter
[Holding:] On a sua sponte review of the record, the              Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20507.2
District Court, Beth Bloom, J., held that organization’s          See ECF No. [1]. Under Count I of its Amended
notice to supervisor, concerning a potential NVRA                 Complaint, ACRU claims that Snipes “has failed to make
violation for supervisor’s alleged failure to make                reasonable efforts to conduct voter list maintenance
reasonable efforts to conduct voter list maintenance              programs, in violation of Section 8 of NVRA, 52 U.S.C. §
programs, did not provide the requisite notice of claim for       20507 and 52 U.S.C. § 21083(a)(2)(A) [Help America
failure to respond adequately to request for data, and thus,      Vote Act].” ECF No. [12] at ¶ 28. Under Count II of the
district court did not have jurisdiction to hear claim.           Amended Complaint, ACRU claims that Snipes “has
                                                                  failed to respond adequately to Plaintiffs’ written request
                                                                  for data, [and] failed to produce or otherwise failed to
Ordered accordingly.                                              make records available to Plaintiffs concerning
                                                                  Defendant’s implementation of programs and activities
                                                                  for ensuring the accuracy and currency of official lists of
Attorneys and Law Firms                                           eligible voters for Broward County, in violation of
                                                                  Section 8 of the NVRA, 52 U.S.C. § 20507(i).” Id. at ¶
H. Christopher Coates, J. Christian Adams, Public Interest        33. This Order concerns Count II—in particular, whether
Legal Foundation, Plainfield, IN, Joseph A. Vanderhulst,          at this late stage this Court has jurisdiction to adjudicate
Kaylan L. Phillips, Public Interest Legal Foundation,             that claim in the first place. For the reasons explained
Indianapolis, IN, Mathew Daniel Gutierrez, William Earl           below, the Court finds that it does not.
Davis, Foley, Lardner LLP, Miami, FL, Kenneth A.
Klukowski, American Civil Rights Union, Alexandria,               The genesis of this lawsuit stems from a brief series of
VA, for Plaintiffs.                                               interactions that took place between the President of
                                                                  ACRU, Susan A. Carleson (“Carleson”), and Snipes back
Burnadette Norris–Weeks, Michelle Austin Pamies,                  in early 2016. Those interactions were detailed in a prior
Burnadette Norris–Weeks PA, Fort Lauderdale, FL,                  Order that this Court entered on July 11, 2017, see ECF
Kathleen Marie Phillips, Lucia Piva, Phillips, Richard,           No. [182] (the “July 11, 2017 Order”), which denied the

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                                                                      [1]
respective motions for partial summary judgment that had                As has been largely recognized throughout these
been filed by ACRU, Snipes, and Intervenor Defendant                  proceedings, ACRU’s January 26, 2016 letter is critical to
1199SEIU United Healthcare Workers East,3 see ECF                     jurisdiction in this case. By way of background, Section
Nos. [117], [145], [142]. *1331 Given their jurisdictional            20510 of the NVRA governs the civil enforcement of
significance, the details of those interactions bear                  Section 8, providing for enforcement by:
repeating here.
                                                                            (a) Attorney General—The Attorney General may
On January 26, 2016, Carleson sent a letter to Snipes                       bring a civil action in an appropriate district court for
notifying her that, based on ACRU’s research, Broward                       such declaratory or injunctive relief as is necessary
County was “in apparent violation” of Section 8 of the                      to carry out this chapter.
NVRA. ECF No. [12–1]. The letter explained that based
on ACRU’s comparison of publicly available information,                     (b) Private right of action—
Broward County at the time “ha[d] an implausible number
of registered voters compared to the number of eligible                       1. A person who is aggrieved by a violation of this
living citizens.” Id. at 2. The letter expressed ACRU’s                       chapter may provide written notice of the violation
hope that the Broward County Supervisor of Elections’                         to the chief election official of the State involved.
Office (“BCSEO”) would work towards compliance with
                                                                              2. If the violation is not corrected within 90 days
Section 8 of the NVRA as well as ACRU’s intention to
                                                                              after receipt of a notice under paragraph (1), or
file a lawsuit under the statute if such compliance was not
                                                                              within 20 days after receipt of the notice if the
achieved. Id. at 3. The letter also stated that if the
                                                                              violation occurred within 120 days before the date
information referenced therein was no longer accurate, “it
                                                                              of *1332 an election for Federal office, the
would be helpful if [Snipes] could provide” certain
                                                                              aggrieved person may bring a civil action in an
categories of documents that the letter identified. See id.
                                                                              appropriate district court for declaratory or
at 3–4. Citing Section 8 of the NVRA, the letter informed
                                                                              injunctive relief with respect to the violation.
Snipes of the requirement that her office “make available
for public inspection all records concerning the                              3. If the violation occurred within 30 days before
implementation of programs and activities conducted for                       the date of an election for Federal office, the
the purpose of ensuring the accuracy and currency of                          aggrieved person need not provide notice to the
official lists of eligible voters.” Id. at 4. The letter invited              chief election official of the State under paragraph
Snipes to call Carleson in order to arrange a time to                         (1) before bringing a civil action under paragraph
discuss the matter and to arrange an inspection. Id.                          (2).
On February 8, 2016, Snipes responded to ACRU’s letter                52 U.S.C. § 20510. As the Court explained earlier in these
with a letter of her own. See ECF No. [12–2] at 1–2.                  proceedings, “[t]his Court’s jurisdiction, therefore, stems
Among other things, Snipes’ letter refuted the assertion              directly from § 20510(b), and Plaintiffs’ standing to bring
that Broward County’s voter rolls were filled with more               suit depends upon compliance with the statute.” Bellitto v.
voters than living persons residing in the county and                 Snipes, 221 F.Supp.3d 1354, 1360–61 (S.D. Fla. 2016).
included two types of BCSEO certifications spanning the               Consistent with that rationale, the Court granted in part a
previous several years—which the letter characterized as              motion to dismiss filed by Snipes, dismissing only the
“documenting actions taken by [Snipes’] office to manage              claims brought by Bellitto as “Bellitto did not herself
removal of voters no longer eligible to vote in Broward               comply with § 20510(b)(1)’s notice prerequisite.” Id. at
County.” Id.; see also id. at 3–23. The letter closed by              1363. Specifically, the Court explained that ACRU’s
directing ACRU to BCSEO’s General Counsel and                         January 26, 2016 letter “did not mention Bellitto ‘by
BCSEO’s website for any further information. Id. at 3.                name’ or even refer to ACRU members,” and thus found
About two months after the exchange of letters, legal                 that the letter was “too vague to provide ... an opportunity
representatives of ACRU contacted Snipes via telephone                to attempt compliance as to [Bellitto] before facing
on April 5, 2016, and the parties discussed the possibility           litigation.” Id. (emphasis added) (alteration in original)
of arranging a meeting as well as an inspection of the                (quoting Scott v. Schedler, 771 F.3d 831, 836 (5th Cir.
records ACRU requested in its January 26, 2016 letter.                2014)). As such, the Court held that Bellitto had “failed to
Those efforts proved unfruitful, however, as no further               meet her burden to establish standing to bring suit.” Id. Of
communications (at least not written) between ACRU and                course, at that time there appeared to be no dispute
Snipes took place in the nearly three months that passed              between the parties that the January 26, 2016 letter was
before this lawsuit was filed on June 27, 2016.                       sufficient to confer standing on ACRU itself—after all, it
                                                                      was ACRU’s letter—and this case proceeded accordingly.

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                                                                   jurisdiction at any time, for every case it adjudicates.”)
However, in its July 11, 2017 Order, the Court identified          (quoting Fla. Ass’n of Med. Equip. Dealers v. Apfel, 194
the following concern with respect to the NVRA’s                   F.3d 1227, 1230 (11th Cir. 1999)) (emphasis added);
pre-suit notice requirement as it related specifically to          Mulkey v. Land Am. Title Ass’n, Inc., 345 Fed.Appx. 525,
Count II:                                                          526 (11th Cir. 2009) (“Plaintiffs [bear] the burden of
                                                                   establishing jurisdiction; and a district court should not
  The parties appear to be in agreement that the January           assume jurisdiction.”) (citing Steel Co. v. Citizens for a
  26, 2016 letter constituted sufficient notice for purposes       Better Environment, 523 U.S. 83, 118, 118 S.Ct. 1003,
  of ACRU’s failure to disclose claim under Count II.              140 L.Ed.2d 210 (1998)); Steel Co., 523 U.S. at 118, 118
  Nonetheless, and despite the issue having not been               S.Ct. 1003 (explaining that a court cannot assume
  raised on summary judgment or at any other time                  jurisdiction to reach the merits of a case).
  during these proceedings, the Court questions whether
  the letter can constitute sufficient notice for purposes of      Following the Court’s July 11, 2017 Order, and in
  ACRU’s claim for failure to make reasonable efforts to           anticipation of trial, the parties appeared before the Court
  conduct voter list maintenance programs under Count I            at a pre-trial conference on July 18, 2017. In light of the
  and ACRU’s failure to disclose claim under Count II.             above mentioned concern, the Court sought clarification
  Specifically, the letter contemplated one potential              from ACRU’s counsel regarding the relationship between
  NVRA violation, the violation claimed under Count I.             ACRU’s notice letter and its failure to disclose claim
  See ECF No. [12–1] at 2 (“[T]he list maintenance                 under Count II. The following exchange ensued:
  requirements of Section 8 of the NVRA [ ] ensure that
  ineligible voters are not participating in the political               The Court: I would like to address an issue relating
  process.... The American Civil Rights Union has [ ]                    to Count 2. And that is, I’m certain that the parties
  taken on the task of notifying you of your county’s                    had an opportunity to review the Court’s order
  violation.”). The letter did not contemplate the NVRA                  relating to the cross-motions for summary judgment,
  violation claimed under Count II, nor could it have;                   as well as the motion for summary judgment as to
  being the first correspondence between ACRU and                        Count 1. And my question is actually directed to the
  Snipes, the letter represents the first time ACRU                      Plaintiff ACRU, and that is with regard to the notice
  requested list maintenance records from Snipes. In                     that was provided relating to the lack of providing
  other words, although the letter notified Snipes of a                  access to certain requested records. Were there any
  potential NVRA violation for her alleged failure to                    records that were requested before January 26th ...?
  make reasonable efforts to conduct voter list
  maintenance programs, as far as public disclosure is                   Counsel: Your Honor, no. The first request was in
  concerned, the letter merely requested for the first time              the notice letter of January 26th.
  Snipes’ list maintenance records. See id. at 4 (“We
  would like to discuss with your office how to                          The Court: [B]oth sides have cited to the Kemp and
  implement a remedial plan which could cure what                        Long cases in support of the summary judgment.
  appears to be a violation of Section 8 of the NVRA. We                 And both of those cases, as we know, involved a
  also request the opportunity to inspect the list                       refusal to allow access to certain requested records.
  maintenance *1333 documents outlined above.”)                          And the notices in those cases were premised on that
  (emphasis added). It would seem to follow, then, that                  refusal that allow this 90–day period in which the
  Snipes was never provided written notice of the                        defendant had to cure.
  potential NVRA violation claimed under Count II or
  afforded 90 days after such written notice by which to                 Here, is it the Plaintiff’s position that the January
  cure the potential violation—the lapse of which gives                  26th, 2016 letter is, in fact, the notice?
  rise to the private cause of action. See 52 U.S.C. §§
                                                                         Counsel: Yes, it is, your honor.
  20510(b)(1), (2).
                                                                   Despite the significance of that clarification and the Court
ECF No. [182] at 37–38 n.17 (emphasis in the original).
                                                                   having clearly expressed its related jurisdictional concern
The parties’ apparent agreement as to the sufficiency of
                                                                   in the July 11, 2017 Order, Snipes’ counsel interjected,
ACRU’s notice letter for purposes of both Counts I and II
                                                                   but only to reassert Snipes’ position that she had been
notwithstanding, the Court now addresses its
                                                                   cooperative with ACRU’s records requests all along.
jurisdictional concern head-on. See generally Miccosukee
Tribe of Indians of Florida v. United States, 698 F.3d             [2] [3] [4] [5]
                                                                              In any event, under the circumstances of this
1326, 1332 (11th Cir. 2012) (“[E]very court has an
                                                                   case, that ACRU’s notice letter admittedly provides no
independent duty to review standing as a basis for
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notice of the specific failure to disclose violation claimed          maintenance programs (Count I), as far as public
in Count II (because it instead represents the first time             disclosure is concerned, the letter merely requested for the
ACRU ever requested records from Snipes) is dispositive               first time Snipes’ list maintenance records. See ECF No.
for purposes of jurisdiction as to Count II. In the *1334             [182] at 37–38 n.17. It follows, then, that Snipes was
Court’s view, a plain reading of 52 U.S.C. § 20510                    never provided with written notice of the potential NVRA
reflects that the pre-suit notice requirement thereunder is           violation claimed under Count II. Equally important,
violation specific. See 52 U.S.C. §§ 20510(b)(1)–(2) (“A              Snipes was not afforded the curative period following
person who is aggrieved by a violation of this chapter                such written notice by which to cure that potential NVRA
may provide written notice of the violation to the chief              violation.
election official.... If the violation is not corrected ..., the
                                                                      [7]
aggrieved person may bring a civil action ... for                       The point is neatly illustrated by Project Vote, Inc. v.
declaratory or injunctive relief with respect to the                  Kemp, 208 F.Supp.3d 1320 (N.D. Ga. 2016), a case which
violation.”) (emphasis added). That view is bolstered by              ACRU relied upon extensively in seeking summary
consideration of the specific purpose of the notice                   judgment on Count II, though on issues unrelated to
requirement that is enumerated in § 20510—that is, to                 notice. The only claim brought by the plaintiff in Kemp
allow the potential NVRA defendant a curative period                  was a failure to disclose claim under the NVRA, and at
during which he or she may correct the violation                      issue was the sufficiency of the plaintiff’s notice letter.
identified, thereby coming into compliance with the                   The plaintiff had requested from the defendant a variety
NVRA. See, e.g., Scott, 771 F.3d at 836 (“It is also                  of records on October 30, 2014. Id. at 1347. Thereafter,
apparent to us that the NAACP’s notice letter was too                 the defendant produced certain records in response, but
vague to provide [the defendant] with an opportunity to               the plaintiff viewed that production as inadequate. Id.
attempt compliance as to [the individual plaintiff] before            Importantly, the plaintiff’s request and the defendant’s
facing litigation. In the letter, the NAACP alleged NVRA              response preceded the notice letter that plaintiff sent the
violations only in broad terms and certainly did not                  defendant on July 6, 2015—“nearly a year before th[e]
mention [the individual plaintiff] by name.... The letter’s           action was filed[.]” Id. In finding that the plaintiff’s notice
surveys and statistics put [the defendant] on notice neither          letter satisfied the notice requirement of 52 U.S.C. §
that the violations concerned the declination form nor that           20510(b)(1), the court observed that the notice letter
they involved [the individual plaintiff].”) (internal citation        “described the records Plaintiff requested on October 30,
and quotation marks omitted). Inescapably, that curative              2014 and sought to explain why Defendant’s productions
period is likewise violation specific. It is not enough that          failed to satisfy those requests[,]” such as the fact that the
a potential NVRA defendant has general notice that an                 defendant’s productions omitted a number of documents.
individual or organization believes it to be in violation of          Kemp, 208 F.Supp.3d at 1347–48 (emphasis added). Here,
the NVRA before facing litigation. See Judicial Watch,                by contrast, there was never any request for records by
Inc. v. King, 993 F.Supp.2d 919, 922 (S.D. Ind. 2012)                 ACRU—and by extension a response to such request by
(explaining that an NVRA notice is sufficient if it “sets             Snipes—prior to ACRU’s notice letter. Instead, as
forth the reasons for [the] conclusion” that a defendant              counsel for ACRU stated at the pre-trial conference, “the
failed to comply with the NVRA). Similarly, notice as to              notice was the request.” However, to allow a purported
one potential NVRA violation is not the equivalent of                 NVRA notice letter to serve such a dual purpose—that is,
notice as to all potential NVRA violations. Rather, a                 make an initial request for records and at the same time
potential NVRA defendant must have notice of exactly                  notify the records keeper of his or her failure to satisfy
what violation or violations have been alleged in order to            that request—simply because it provides sufficient notice
have a meaningful opportunity to attempt complete                     of a separate NVRA violation would, in the Court’s view,
compliance before facing litigation.4                                 defy logic and frustrate the purpose of the NVRA’s notice
                                                                      provision (to provide an opportunity to attempt
[6]
  In this case, ACRU alleges two separate and distinct                compliance before litigation).5
violations of the NVRA. However, ACRU has in essence
                                                                      [8]
sought to “piggyback” its claim under Count II on its                   For all of these reasons, the Court finds that although
January 26, 2016 notice letter, which only provides notice            ACRU’s notice letter constitutes sufficient notice for
of the NVRA violation alleged in its claim under Count I.             purposes of ACRU’s claim for failure to make reasonable
Scott, 771 F.3d at 836 (holding that the individual                   efforts to conduct voter list maintenance programs under
plaintiff could not “piggyback” *1335 on the NAACP’s                  Count I, the notice letter does not constitute sufficient
notice letter). Put simply, although the letter notified              notice for purposes of ACRU’s failure to disclose claim
Snipes of a potential NVRA violation for her alleged                  under Count II. As ACRU’s notice letter represents the
failure to make reasonable efforts to conduct voter list              only written correspondence that ACRU provided Snipes

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prior to the commencement of this lawsuit,6 *1336 Snipes                   lack of standing has a preclusive effect on this Court’s
was never provided written notice of the potential NVRA                    jurisdiction. See Bellitto, 221 F.Supp.3d at 1362 (“The
violation claimed under Count II, nor was she afforded 90                  plaintiff has the burden to clearly and specifically set
days after such written notice by which to cure that                       forth facts sufficient to satisfy Art. III standing
potential violation—as required under 52 U.S.C. §§                         requirements. In the context of standing to bring a private
20510(b)(1), (2). Furthermore, because it is the lapse of                  action pursuant to 52 U.S.C. § 20510(b), failure to
the curative period contemplated in 52 U.S.C. §                            provide notice is fatal.”) (quoting Sierra Club v. Morton,
20510(b)(2) that gives rise to the private cause of action,                405 U.S. 727, 731–32, 92 S.Ct. 1361, 31 L.Ed.2d 636
no standing was ever conferred upon ACRU to bring its                      (1972), and Scott, 771 F.3d at 836) (internal citation and
failure to disclose claim—its standing to bring the claim                  quotation marks omitted).
for failure to make reasonable efforts to conduct voter list
maintenance programs notwithstanding. See Scott, 771                       Accordingly, it is ORDERED AND ADJUDGED that
F.3d at 835 (“No standing is therefore conferred if no                     Count II is DISMISSED.
proper notice is given, since the 90–day period never
runs.”) (quoting Georgia State Conference of NAACP,                        DONE and ORDERED in Miami, Florida, this 21st day
841 F.Supp.2d at 1335); see also Lewis v. Casey, 518 U.S.                  of July, 2017.
343, 358 n.6, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996)
(“[S]tanding is not dispensed in gross.”); Friends of the
Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.
167, 185, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000) (“[A]                      All Citations
plaintiff must demonstrate standing separately for each
form of relief sought.”). Consistent with both the Fifth                   268 F.Supp.3d 1328
Circuit in Scott and the Northern District of Georgia in
Georgia State Conference of NAACP, and as the Court
has previously explained during these proceedings, this

Footnotes

1      All claims brought by Bellitto have since been dismissed based on Bellitto’s lack of standing to bring suit. See ECF No. [64].


2      The Court refers to 52 U.S.C. § 20507 interchangeably as “Section 8,” reflecting the statute’s original location at Section 8 of Pub.
       L. 103–31, May 20, 1993, 107 Stat. 77.

3      The Court previously granted a motion to intervene filed by Intervenor Defendant 1199SEIU United Healthcare Workers East. See
       ECF Nos. [23], [29], [53].

4      Though the Eleventh Circuit has not addressed this issue within the context of the NVRA, it has expounded upon the opportunity
       to comply that is mandated in the similarly worded pre-suit notice requirement for citizens suits under the Clean Air Act. In Nat’l
       Parks & Conservation Ass’n, Inc. v. Tennessee Valley Auth., 502 F.3d 1316, 1328 (11th Cir. 2007), the Eleventh Circuit agreed with
       the district court that the notice letter provided by the plaintiff organization was “the notice equivalent of a ‘shotgun’ complaint
       because it broadly alleged daily violations of an entire set of regulations without specifically identifying the individual alleged
       violations and dates.” (internal quotation marks omitted). The Eleventh Circuit reasoned:
          We conclude, as the district court did, that National Parks’ notice letter was inadequate because it failed to provide enough
          information to permit TVA to identify the allegedly violated standards, dates of violation, and relevant activities with the
          degree of specificity required by the regulations. The notice requirements are strictly construed to give the alleged violator the
          opportunity to correct the problem before a lawsuit is filed.
       Id. at 1329 (emphasis added). Like the notice requirement of the Clean Air Act, “[t]he apparent purpose of the [NVRA] notice
       provision is to allow those violating the NVRA the opportunity to attempt compliance with its mandates before facing litigation.”
       Georgia State Conference of NAACP v. Kemp, 841 F.Supp.2d 1320, 1335 (N.D. Ga. 2012).

5      To illustrate the point further, a sufficient notice letter with respect to Count II in this case could have been a second letter sent
       by ACRU in which ACRU expressed its position that the BCSEO certifications provided by Snipes in her February 8, 2016 response
       letter did not satisfy all of the requests ACRU made in its initial January 26, 2016 letter. The subsequent attempt (or non-attempt)
       for compliance by Snipes would have then occurred prior to litigation, rather than after the commencement, and throughout the
       course, of litigation—as has been the case here. The NVRA’s notice requirement contemplates the former.

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Bellitto v. Snipes, 268 F.Supp.3d 1328 (2017)




6      The parties established this in their respective renditions of the undisputed material facts that they submitted in support of
       summary judgment.




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REGISTRATION

   1. Is the registration data correct?

               In Mr. Montalvo’s view (and his assistant John’s view) – yes. The records are all computerized now,
               whereas when he took over in 2005 all voter registration was documented by hard copy record
               keeping, etc.

   2. Do you have different populations numbers in the county than we do?

               He agreed the adult population was around 62,000 – the same as indicated by the Census Bureau.

   3. Why do you think registrations exceed citizen population?

               Mr. Montalvo and his assistant were incredulous that the Census Bureau says that almost 40,000 of
               the adults in Starr County are non-citizens – and they really questioned how (by what method) the
               Census Bureau could actually come up with such a large number of non-citizens in the county’s
               overall adult population. Therefore they do not think the roughly 30,000 voters presently registered
               exceed the actual Citizen Voting Age Population total in the county.

   4. How much HAVA money do you have for list maintenance left?

               According to Mr. Montalvo, the county has not received any HAVA money since the 2005-2006
               timeframe when the county received money to buy new voting machines and computers in order to
               computerize the county’s voter registration record keeping system. The county does receive
               Chapter 19 money from the state to pay for TEAMs transactions and to provide services to disabled
               voters.

   5. How many people work on voter registration removal and whether they work part time or full time on
      voter registration?

               Mr. Montalvo wears several hats in the county in addition to overseeing the voter registration
               system. He is the Director of Starr County Human Resources, and Director of Federal and State
               Programs (including state housing assistance programs.) His assistant John ? was said to do most of
               the actual work overseeing the voter registration program with the aid of 2 full time workers and 1
               part-time worker.

   6. What type of training they receive? Whether they would be willing to seek training for all the people who
      work on voter registration in his office.

               Mr. Montalvo says that TEAMS in Austen provides training for voter registration workers 2 to 3
               times a year and he and his assistant John alternate going, and taking one of the 2 full-time workers
               with them when they go for the training.

   7. How many ineligible voters removed each year? By cycle?

               208 deceased voters and 62 felons were removed form the rolls in 2015. No voters were removed
               based on NCOA data (see NCOA section for more detail.) Voters were also removed per instructions
               from TEAMS. They did not have a breakdown as to how many and for what reason. They said such
               records were available from TEAMS for 2015, but not for periods prior to that because such data is
               no longer kept by the Texas Sec. of State as result of the switchover from Teams 1 to Teams 2 in
               2015 (see section on TEAMS/Texas SOS.)




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MAILINGS - CHANGE OF ADDRESS

   8. When was the last time you did a county wide mailing to all voters and utilized return data to affect list
      maintenance?

               Mr. Montalvo stated that once per election cycle the office mails out voter
               registration/identification cards to all voters. Voters whose cards are returned as undeliverable
               (”come back”) are then sent a notice (unclear if notices are sent forward-able or unforward-able)
               giving voters 30 days to respond to the notice to verify their address and registration information. If
               voters do not respond to the notices, then a voter’s name is immediately removed from the voter
               rolls.

   9. When was the last time you did a direct mailing to National Change of Address (NCOA list from USPS)
      names from your county asking them to cancel their registration?

               The office does not use the NCOA database at all and relies on voters themselves contacting the
               office and TEAMS to provide lists of voters who have changed addresses within the county or moved
               out of the county entirely. When voters move and register in another county, the local registrars in
               the new county send a notice to TEAMS about the new registration and TEAMS notifies Starr County
               and the voter is then removed from the rolls. (Unclear if a notice is sent to the voter by Starr County
               first, but implication was that voters are removed immediately based on action requests from
               TEAMS.)

   10. Do you use the NCOA database?

               No. (see question 9 above.)

   11. How regularly do you use updated NCOA data?

               Never. (see question 9 above.)

               Mr. Montalvo also noted that the local Post Office is not very cooperative or helpful. He stated that
               he had had concerns about returned mail-in ballots being at risk in a single mailman’s truck. He had
               volunteered to retrieve the ballots at the Post Office itself with an escort but was told the ballots
               had to be delivered via the postal service under regular procedure for mail delivery.

   12. Does the office send a notice letter to registrants for inactivity?

               Office does not send notices or remove voters for failure to vote in previous elections, no matter
               how long since voter last voted.

   13. How many election cycles before a name is removed?

               Office does not send notices or remove voters for failure to vote in previous elections, no matter
               how long since voter last voted

   14. Are there lists of those letter recipients by cycle?

               No letters sent, so no records/lists.

   15. What is the process used for removing a voter registration when no response received?

               If voters do not respond to notices from the registrar’s office, then a voter’s registration is cancelled
               immediately.



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DEATH INDEX


   16. Do you purchase the Social Security Death Index?

               No. Index information is unreliable.

   17. How often – when, and what is done regarding names listed on the index?

               Index not used. Voters identified as deceased by TEAMS or county coroner’s office are removed from
               rolls immediately.

   18. Do you scrub your registered voter names against that list?

               Index not used.

   19. How do you obtain death records?

               County depends on TEAMS to provide list of registered voters that have died OUTSIDE the county.
               Registrar’s office obtains lists of death certifications from the county coroner’s office for residents
               that die WITHIN the county.

   20. Do you talk to the Hernandez Funeral Home? Who there? The Sanchez funeral home? Who there?

               No. Registrar’s office obtains list of death certifications from the county coroner’s office for
               residents that die WITHIN the county.

   21. What about the Rivera Funeral Home in McAllen, or the Ceballos Funeral Home in McCallan (Neighboring
       county but still relevant).

               County depends on TEAMS to provide list of registered voters that have died OUTSIDE the county.

   22. Do you use EVE or STEVE databases (Electronic Verification of Vital Events which is run by a state
       consortium)?

               No. Never heard of either database.




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JURY DECLINATIONS


   23. Do you get any communications from the district court clerk about jury declinations?

               No – not worthwhile. Overwhelming majority of residents who decline jury duty in the county do so
               on the basis that they do not speak English, rarely do they decline by acknowledging they are not a
               U.S. citizen.

   24. Do you obtain the jury declination list from the US District Court in McAllen? Have you asked?

               No – again, not considered worthwhile. Overwhelming majority of residents form the county who
               decline jury duty in federal court do so on the basis that they do not speak English, rarely do they
               decline on by acknowledging they are not a U.S. citizen.




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NON-CITIZEN VERIFICATION

   25. Have you requested use of the SAVE (Systemic Alien Verification for Entitlements) database?

              No – never heard of the database.

   26. Do you possess a record of people who use the federal form – and state/local form – and indicate they are
       not citizens or leave the check box blank?

              State voter registration form is used – which has a check box for U.S. citizenship. Voter registration
              forms filled out in local government offices or mailed to the registrar’s office are processed by the
              county registrar’s office. However, forms filled out at the local DPS driver’s license bureau are sent
              to Austen and processed by TEAMS and the county is then instructed to register the individual to
              vote only if the form is “fully/completely filled out.” If an indication is made that an applicant is not
              a U.S. Citizen, they are not registered to vote. If the box for citizenship is not checked, the individual
              is not registered until the form is “fully/completely filled out.”

              Mr. Montalvo also noted that because the voter registration forms filled out at the local DPS are
              sent to Austen, their office never sees the forms and thus they never get a copy of the signature on
              the voter registration application form to be able to cross check it with the signature of the
              individual voting on election day for verification purposes.

   27. What do you do when someone leaves the citizenship checkbox blank? Do you register them pending
       confirmation, send a confirmation inquiry, or refuse to register with no action or some other action?

              If the box for citizenship is not checked (left blank), the individual again is not registered to vote until
              the form is “fully/completely filled out.” The county then sends the applicant a notice at the address
              listed informing them that their registration to vote cannot be completed nor their name entered on
              the voting rolls until the application form is “ fully/completely filled out.” If the applicant does not
              respond to the notice, or otherwise does not “fully/completely fill out” the application form (i.e. by
              leaving the citizenship box unchecked) then the applicant is not registered to vote.

              In a phone call prior to visiting Starr County, Mr. Montalvo mentioned that many non-citizens would
              have an incentive to check the citizenship box because they can then use the voter ID card they
              would then receive as one of the two forms of ID required by border officials to allow them to cross
              back and forth across the border with Mexico.




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PROSECUTION - FELONS

   30. Do you have records of federal prosecutions from the US Attorney in McAllen? How frequently are they
       sent? Do you check the addresses of individuals convicted of immigration trafficking against registrants in
       those same households?

               The office gets a list of felony convictions from the county court each month to check against the
               voter rolls. TEAMS is relied on to provide information about county residents convicted of felonies
               OUTSIDE the county, including convictions in federal court in McAllen and all other cities and states.

               They do not focus on the specific nature of a crime for which an individual is convicted (such as
               immigration trafficking) and do not check for other registered voters living at the same address as
               an individual who is convicted of any felony charge.




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TEXAS SOS OFFICE INFO

   31. What is the average time to act on Texas Election Administration Management (TEAM) “hopper” items
       from the TX SOS – action items sent to be checked out?

               As soon as possible, immediately most of the time.

   32. Have they urged you to improve procedures?

               No.

   33. Do you possess records showing all TX SOS suggestions and the action taken on them?

               For the last year yes, prior to that no. Everything is on computer, but the Texas Sec. of State’s office
               switched from “TEAMS 1” to “TEAMS 2” last year and such archival records in the county’s TEAMS
               account (and for all other counties) based on the TEAMS 1 system era were deleted from the
               county’s account. Not sure if Texas SOS archived the info, but county does not have access to it.

   34. Do you possess the invoices from the TX SOS billing you for each list maintenance transaction over the last
       few years? (TX SOS charges like 10 cents per removal).

               For the last year yes, prior to that no. (see answer to question 33.)

   35. Is the Texas Vital Records database used to cross check for names? (This is different than TEAMS).

               Their understanding is that the state vital records office provides such info to the TEAMS database
               office and the county relies on the TEAMS system for such info.




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REFERRALS FOR PROSECUTION


   37. How many instances of noncitizen voting have you had? Any investigations from your office?

              Mr. Montalvo does not believe there have been any instances of non-citizen voting since the
              registration records have been computerized and kept up to date. However, he volunteered that the
              first year he took over the office in 2005-2006, nine people were “indicted” for facilitating or
              committing vote fraud. Another individual is similarly indicted every year or so, but not on the basis
              they are not U.S. citizens.

   38. Have you asked the TX SOS for additional help or HAVA money to fix this?

              No. They do not think it is a big problem in the county now that the voter rolls have been
              computerized, and because the past prosecutions have deterred such fraudulent voting behavior.

   39. How many referrals have you made for people who improperly registered to county or state criminal
       prosecutors?

              Mr. Montalvo volunteered that the first year he took over the office in 2005-2006, nine people were
              “indicted” for facilitating or committing vote fraud. Another individual is similarly indicted every
              year or so. They generally report clearly proven cases to the local DA, but if it involves local officials,
              political party officers, or others that would present a conflict of interest for the local DA, they refer
              the cases to the Texas AG’s office.




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WRITTEN PLAN TO RESOLVE ISSUES


   41. WILL YOU ENTER INTO A WRITTEN PLAN AGREEING TO FIX ANY SHORTCOMINGS WE DISCUSSED TODAY?

   42. WILL YOU AGREE IN WRITING TO START TO DO QUESTION ____?

      Mr. Montalvo stated that he would be open to doing things to improve their registration processes, but that
      it would of course be subject to approval by the County Commissioners, as well as the County Judge who has
      oversight and control of the financial budget for his office. His main concern was who would pay for access
      to the mentioned databases and the training for county staff to be able to use them properly.

      He noted that Starr is a very poor county with many residents who do not speak English and/or less
      educated than in other parts of the state. As a result they do not have the resources to devote to voter
      registration issues on a par with other counties, which is why they rely so heavily on the state funded and
      controlled TEAMS system for much of their voter registration needs for information and tracking.

      He acknowledged that TEAMS is often slow (“Sometimes it can take several months for the info to come
      through to the county.”) and that the information is not always accurate. He noted that neighboring
      Hidalgo County is more prosperous and uses the private “Vote Tech” database which is quicker and more
      accurate than TEAMS – but much more expensive.




                                                                                            ACRU - 000774
